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             EXHIBIT A
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12
                                   UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                           San Francisco Division
15
16
17     SECURITIES AND EXCHANGE                            Case No. 3:23-cv-06003-WHO
       COMMISSION,
18                                                        PLAINTIFF SECURITIES AND
                     Plaintiff,                           EXCHANGE COMMISSION’S
19                                                        OBJECTIONS AND RESPONSES TO
              vs.                                         DEFENDANTS PAYWARD, INC.’S AND
20                                                        PAYWARD VENTURES, INC.’S FIRST SET
       PAYWARD, INC. and PAYWARD                          OF REQUESTS FOR PRODUCTION OF
21     VENTURES, INC.,                                    DOCUMENTS

22                   Defendants.

23
24
25   PROPOUNDING PARTY: PAYWARD, INC. and PAYWARD VENTURES, INC.

26   RESPONDING PARTY:               SECURITIES AND EXCHANGE COMMISSION

27   SET NO.:                        ONE (Nos. 1 to 91)

28
     SEC’S RESPONSES AND OBJECTIONS TO
                                                                           Case No. 3:23-cv-06003-WHO
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 1                                           INTRODUCTION
 2          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (“Federal Rules”) and

 3   the Local Rules of the U.S. District Court for the Northern District of California (“Local Civil

 4   Rules”), Plaintiff Securities and Exchange Commission (the “Commission,” “SEC,” or “Plaintiff”)

 5   hereby responds to Defendants Payward, Inc. and Payward Ventures, Inc.’s (collectively,

 6   “Defendants” or “Kraken”) First Request for Production of Documents to Plaintiff (“Requests”).

 7   The Commission’s responses and objections to the Requests are made to the best of its present

 8   knowledge, information, and belief. These responses and objections are made without prejudice to

 9   the Commission’s right to revise or supplement its responses and objections as appropriate and to

10   rely upon and produce or object to evidence, witnesses, facts, writings, or documents that are

11   identified either herein or in any later supplements or amendments. By responding and objecting

12   below, the Commission does not intend to—and does not—waive any applicable privilege,

13   protection, or right that may prevent the disclosure of any such information. Plaintiff’s responses

14   are made solely for the purpose of and in relation to this action.

15                                             DEFINITIONS
16          The SEC’s responses to the Requests use the following definitions.

17          The “Action” means the instant, above-captioned Commission civil enforcement action.

18          The “Commission’s Initial Disclosures” means the Commission’s Initial Disclosures

19   Pursuant to Fed. R. Civ. P. 26(a)(1)(A), including Attachments A and B thereto, served on

20   Defendants in the Action on September 13, 2024.

21          The “Commission’s Investigative File” means those non-privileged documents obtained by

22   the Commission’s Division of Enforcement staff in the Investigation that are identified in Section

23   B(1)-(4) of the Commission’s Initial Disclosures and Attachment B thereto.

24          The “Investigation” means the Commission’s Division of Enforcement staff’s investigation

25   captioned In the Matter of Kraken conducted under File No. HO-14160.

26          “Non-privileged” means not protected by any privilege or protection, including, without

27   limitation, the attorney-client privilege, the work product doctrine, the deliberative process

28   privilege, privileges and protections pursuant to Section 24(f) of the Securities Exchange Act of

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 1   1934 (“Exchange Act”), 15 U.S.C. § 78x, the law enforcement privilege, privileges and protections

 2   pursuant to Section 21F(h)(2)(A) of the Exchange Act, 15 U.S.C. § 78u-6, and the confidential

 3   informant privilege.

 4          “Privileged” means protected by any privilege or protection, including, without limitation,

 5   the attorney-client privilege, the work product doctrine, the deliberative process privilege, privileges

 6   and protections pursuant to Section 24(f) of the Securities Exchange Act of 1934 (“Exchange Act”),

 7   15 U.S.C. § 78x, the law enforcement privilege, privileges and protections pursuant to Section

 8   21F(h)(2)(A) of the Exchange Act, 15 U.S.C. § 78u-6, and the confidential informant privilege.

 9          “Court’s Individual Rules” means the Court’s Individual Rules of Practice in Civil Cases.

10          From time to time, the SEC’s responses may include terms defined by Kraken in its

11   Requests. The SEC’s use of such defined terms is for purposes of these responses only. The SEC

12   does not adopt these terms for any other purpose. The SEC reserves its right to object to any

13   definitions used in Kraken’s Requests.

14                           GENERAL RESPONSES AND OBJECTIONS
15          The SEC asserts the following general objections to Defendants’ Requests, each of which is

16   incorporated into the specific objections and responses set forth below:

17          1.      The SEC objects to the Definitions and Instructions set forth in the Requests to the

18   extent they purport to impose obligations on the SEC beyond the obligations imposed by the

19   Federal Rules. In responding to the Requests, the SEC will respond in accordance with its

20   obligations as set forth in the Federal Rules.

21          2.      The SEC objects to each and every Request to the extent they seek information that

22   is not relevant to any party’s claim or defense and is not proportional to the needs of the case,

23   considering the importance of the issues at stake in the action, the amount in controversy, the

24   parties’ relative access to the relevant information, the parties’ resources, the importance of the

25   discovery in resolving the issues, and whether the burden or expense of the proposed discovery

26   outweighs its likely benefit, or is otherwise beyond the scope of discovery set forth in Rule 26(b)(1)

27   of the Federal Rules.

28          3.      The SEC further objects to each and every Request to the extent their scope is overly

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 1   broad and subjects the SEC to undue oppression, harassment, burden, and expense. In that regard,

 2   to the extent any Request requires the application of law to fact, or the production of documents in

 3   the form of legal treatises, case law, legal research, or other legal or interpretive documents, the

 4   SEC will not produce any such documents.

 5          4.      The SEC further objects to each and every Request to the extent they seek

 6   documents protected against discovery because they are Privileged. Nothing contained in these

 7   responses is intended as, nor shall it in any way be deemed as, a waiver of any such privileges or

 8   protections.

 9          5.      The SEC further objects to each and every Request to the extent they seek the

10   identity of individuals interviewed by the SEC as such information is protected from disclosure

11   under the work product doctrine and law enforcement privilege. See United States v. District

12   Council of New York City and Vicinity of the United Bhd. of Carpenters, Case No. 90 Civ 5722

13   (CSH), 1992 U.S. Dist. LEXIS 12307, at *29 (S.D.N.Y. Aug. 14, 1992) (“How a party, its counsel

14   and agents choose to prepare their case, the efforts they undertake, and the people they interview is

15   not factual information to which an adversary is entitled. Disclosure of this information would

16   inevitably teach defendants which individuals the Government considered more or less valuable as

17   witnesses and how it is preparing for trial”); Plumbers & Pipefitters Local 572 Pension Fund v.

18   Cisco Systems, Inc., 2005 U.S. Dist. LEXIS 436489 (N.D. Cal. June 21, 2005) (identity of witnesses

19   interviewed need not be disclosed as investigatory interviews that lead up to litigation clearly satisfy

20   the “in anticipation of litigation” requirement of the work product doctrine); In re MTI Technology

21   Corp. Sec. Litig., 2002 U.S. Dist. LEXIS 13015 (C.D. Cal. 2002) (identity of witnesses interviewed

22   by attorneys protected by work product doctrine); In re Ashworth, Inc. Sec. Litig., 213 F.R.D. 385

23   (S.D. Cal. 2002 ) (same); Laxalt v. McClatchy, 116 F.R.D. 4387, 443 (D. Nev. 1987) (parties may

24   be compelled to disclose identity of persons having knowledge, but may not be forced to disclose

25   which of those individuals have in fact been interviewed).

26          6.      The SEC further objects to each and every Request to the extent they call for the

27   production of notes, memoranda or reports of witness interviews, as such notes, memoranda or

28   reports are protected from disclosure under the work product doctrine. See, e.g., Upjohn Co. v.

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 1   United States, 449 U.S. 383, 399 (1981) (“[f]orcing an attorney to disclose notes and memoranda of

 2   witnesses’ oral statements is particularly disfavored because it tends to reveal the attorney’s mental

 3   processes.”); McKenzie v. McCormack, 27 F.3d 1415, 1420-21 (9th Cir. 1994) (finding interview

 4   notes were protected work product); SEC v. Pulier, Case No. 2:17-cv-07124-PSG-RAO, Dkt. No.

 5   159 at p. 8 (C.D. Cal. Nov. 13, 2020) (interview notes, as distinguished from verbatim transcripts or

 6   first-person statements, are often treated as opinion work product because, in choosing what to write

 7   down, and what to omit, a lawyer necessarily reveals his mental processes); SEC v. Strauss, Case

 8   No. 09 Civ. 4150 (RMB)(HPB), 2009 U.S. Dist. LEXIS 101227 (S.D.N.Y. Oct. 8, 2009) (interview

 9   notes and summaries prepared by SEC attorneys and staff members protected work product);

10   O’Connor v. Boeing North America, Inc., 216 F.R.D. 640, 643 (C.D. Cal. 2003) (“[n]otes and

11   memoranda or an attorney, or an attorney’s agent, from a witness interview are opinion work

12   product entitled to almost absolute immunity.”) (quoting Baker v. GMC, 209 F.3d 1051, 10554 (8th

13   Cir. 2000)); Nishnic v. United States Department of Justice, 671 F. Supp. 771 (D.D.C. 1987)

14   (Department of Justice investigative reports, including witness interviews, shielded by work product

15   doctrine); United States v. Chatham City Corp., 72 F.R.D. 640 (S.D. Ga. 1976) (holding that

16   investigative reports of the FBI, the notes of interviews by its special agents and statements

17   obtained by Department of Justice attorneys constitute materials prepared in anticipation of

18   litigation protected from disclosure by the work product doctrine).

19          7.      In addition, the SEC objects to each and every Request to the extent they call for the

20   production of public documents that are equally available to all parties. See, e.g., Ayyad v. Holder,

21   05-cv-02342-WYD-MJW, 2014 U.S. Dist. LEXIS 115084, at *5 (D. Colo. Aug. 19, 2014);

22   Valenzuela v. Smith, S 04-0900, 2006 U.S. Dist. LEXIS 6078, at *5 (E.D. Cal. Feb. 16, 2006);

23   LaSalle Bank Nat’l Ass’n v. Capco Am. Securitization Corp., 02 CV 9916 (RLC), 2006 U.S. Dist.

24   LEXIS 2600, at *4 (S.D.N.Y. Jan. 25, 2006); SEC v. Samuel H. Sloan & Co., 369 F. Supp. 994,

25   995 (S.D.N.Y. 1973).

26          8.      The SEC objects to each and every Request to the extent that they call for the

27   production of documents produced by, or previously produced to, Defendants.

28          9.      To the extent that documents that would otherwise be produced by the Commission

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 1   in response to these Requests are subject to protective orders, they will only be produced if

 2   permitted by and in accordance with the terms of any applicable protective orders.

 3                         RESPONSES TO REQUESTS FOR PRODUCTION
 4          In addition to the foregoing objections, which are incorporated by reference as if set forth in

 5   full into each response below, the SEC responds to each Request as follows:

 6   Request for Production No. 1:

 7          Your complete investigative file in connection with the Investigation, including but not

 8   limited to the following:

 9                    a.     All subpoenas, voluntary document requests, and other requests to provide

10   documents, testimony, or an interview, including Documents evidencing or memorializing the terms

11   of any testimony or interview (including proffer agreements) of any Person or entity from whom

12   You gathered information in connection with the Investigation;

13                    b.     All documents received in response to any such requests, or otherwise

14   obtained by You, from third parties or third-party sources;

15                    c.     All transcripts, transcript exhibits, recorded testimony, verbatim notes,

16   declarations, affidavits, witness interview notes, and memos and witness statements;

17                    d.     All Documents Concerning any Communications Concerning the

18   Investigation. As examples, but without limitation, this category includes all correspondence

19   (including email), cover letters, subpoenas, witness statements, declarations, affidavits, memoranda,

20   summaries, or notes, and any drafts and versions of the foregoing, sent to, or received from any

21   witness, potential witness, entities, or their counsel. For the avoidance of doubt, this Request for

22   Production includes the formal order memorandum, the action memorandum, and emails and other

23   Communications between the staff of the Enforcement Division and SEC Commissioners or other

24   SEC Divisions and their respective staff;

25                    e.     All Documents memorializing, evidencing, or Concerning any

26   Communications You had with any Government Entity and/or any other third party relating to the

27   Investigation;

28
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 1                  f.      All Documents or Communications Concerning any formal and/or informal

 2   cooperation agreement between You and any Person or entity from whom You gathered

 3   information in connection with the Investigation; and

 4                  g.      Your Contact List and Document Index for the Investigation, as contemplated

 5   in Section 3.2.9.4 of the SEC Enforcement Manual.

 6   Response to Request for Production No. 1:

 7          The Commission objects to Request No. 1 to the extent it seeks documents that are

 8   Privileged.

 9          With respect to subpart (a) of Request No. 1, subject to and without waiving any general or

10   specific objections, the Commission will produce the Commission’s Investigative File, which

11   includes Non-privileged documents responsive to this request, and will produce subpoenas and

12   voluntary requests sent as part of the Investigation.

13          With respect to subpart (b) of Request No. 1, subject to and without waiving any general or

14   specific objections, the Commission will produce the Commission’s Investigative File, which

15   includes non-privileged documents responsive to this request.

16          With respect to subpart (c) of Request No. 1, the Commission further objects to Defendants’

17   request for “witness interview notes” and “memos” on grounds that such notes and memos are

18   Privileged. The Commission further responds to Defendants’ request for “verbatim notes” by stating

19   that it does not have any such documents in the Investigative File. With respect to the remainder of

20   subpart (c) of this request, subject to and without waiving any general or specific objections, the

21   Commission will produce the Commission’s Investigative File, which includes non-privileged

22   documents responsive to this request.

23          With respect to subpart (d) of Request No. 1, the Commission further objects to Defendants’

24   request for “notes” and “drafts” on grounds that such documents are Privileged. The Commission

25   further objects to Defendants’ request for all “internal… Documents…[and] correspondence

26   (including email)” and “the formal order memorandum, the action memorandum, and emails and

27   other communications between the staff of the Enforcement Division and SEC Commissioners or

28   other SEC Divisions and their respective staff” because it calls for the production of documents that

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 1   are Privileged. The Commission further objects to this request to the extent it seeks documents that

 2   are not relevant nor proportional to the needs of the case. Subject to and without waiving any

 3   general or specific objections, the Commission will produce the Commission’s Investigative File,

 4   which includes Non-privileged documents responsive to this request.

 5          With respect to subpart (e) of Request No. 1, the Commission further objects to Defendants’

 6   request for communications “with any Government Entity and/or any other third party relating to

 7   the Investigation” as that request seeks documents that are Privileged. The Commission will not

 8   produce any Privileged communications between Commission staff and any Government Entity.

 9   The Commission further objects to this request to the extent it seeks documents that are not relevant

10   or proportional to the needs of the case. Accordingly, with respect to subpart (e) of this request,

11   subject to and without waiving any general or specific objections, the Commission will produce the

12   Commission’s Investigative File, which includes non-privileged documents responsive to this

13   request, and the Commission will conduct a reasonable search for additional Non-privileged

14   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

15   proportional to the needs of the case

16          With respect to subpart (f) of Request No. 1, the Commission states that it does not have any

17   such documents or communications in its possession, custody, or control.

18          Lastly, with respect to subpart (g) of Request No. 1, the Commission further objects to

19   Defendants’ request for the Commission’s “Contact List and Document Index for the Investigation,

20   as contemplated in Section 3.2.9.4 of the SEC Enforcement Manual” on grounds that such

21   documents are Privileged. The Commission states that Attachment A to the Commission’s Initial

22   Disclosures identifies the contact information, if known, for any individuals likely to have

23   discoverable information that the Commission may use to support its claims against Defendants.

24   Furthermore, subject to and without waiving any general or specific objections, the Commission

25   will produce the Commission’s Investigative File, which includes Non-privileged documents

26   containing information that overlaps with that contained in the documents sought by this subpart.

27
28
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 1   Request for Production No. 2:

 2          All Documents and Communications Concerning Kraken or the subject matter of the

 3   Investigation, the Action, the Staking Investigation, and/or the Staking Settlement, including but not

 4   limited to any notes, memoranda, or summaries Concerning Kraken, any formal, informal or

 5   voluntary requests by You for documents or information from any Person Concerning Kraken and

 6   all Documents or Communications You received in response to such formal, informal or voluntary

 7   requests.

 8   Response to Request for Production No. 2:

 9          The Commission objects to Request No. 2 as unduly burdensome, overbroad, and

10   oppressive.

11          The Commission further objects to Request No. 2 to the extent that certain responsive

12   documents are in the possession, custody, or control of, or equally available, to Defendants.

13          The Commission further objects to Request No. 2 as calling for the production of documents

14   that are not relevant to any parties’ claims or defenses nor proportional to the needs of the case. The

15   Commission specifically objects to the request for documents concerning the “Staking Investigation

16   and/or the Staking Settlement,” which is not relevant to the claims or defenses in this Action.

17          The Commission further objects to Request No. 2, to the extent it seeks documents that are

18   Privileged.

19          Subject to and without waiving the foregoing objections, the Commission states it will

20   conduct a reasonable search for Non-privileged documents that are responsive to this request,

21   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

22   Request for Production No. 3:

23          Documents sufficient to establish when the SEC first learned of the existence of Kraken.

24   Response to Request for Production No. 3:

25          The Commission objects to Request No. 3 as unduly burdensome, overbroad, and

26   oppressive.

27          The Commission also specifically objects to Defendants’ use of the term “first learned,”

28   which is vague and undefined, and to the extent it seeks to place on the Commission a burden to

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 1   precisely identify when it (an agency, not an individual) “first learned” of a fact, or any other

 2   burden not found in or greater than what is required under the Federal Rules, Local Civil Rules, or

 3   the Court’s Individual Rules. The Commission also specifically objects to the extent that certain

 4   communications responsive to this request—including communications between Defendants and

 5   non-Enforcement Division staff of the Commission—are already in the possession, custody, or

 6   control of, or equally available to, Defendants.

 7           The Commission further objects to Request No. 3, to the extent it seeks documents that are

 8   not relevant nor proportional to the needs of the case. The Commission specifically objects because

 9   “when the SEC first learned of the existence of Kraken” is not relevant to any party’s claims or

10   defenses in this Action nor proportional to the needs of the case.

11           The Commission further objects to Request No. 3, to the extent it seeks documents that are

12   Privileged.

13           Subject to and without waiving the foregoing objections, the Commission states it will

14   produce the Commission’s Investigative File, which includes non-privileged documents responsive

15   to this request.

16   Request for Production No. 4:

17           All Communications with third parties Concerning Kraken.

18   Response to Request for Production No. 4:

19           The Commission objects to Request No. 4 as unduly burdensome, overbroad, and

20   oppressive.

21           The Commission also objects to Request No. 4 to the extent it seeks documents that are not

22   relevant nor proportional to the needs of the case.

23           The Commission further objects to Request No. 4 as it seeks documents that are Privileged.

24           Subject to and without waiving the foregoing objections, the Commission states it will

25   produce the Commission’s Investigative File, which includes non-privileged documents responsive

26   to this request.

27   Request for Production No. 5:

28           All Documents and Communications identified, quoted, or referenced in the Complaint.

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 1   Response to Request for Production No. 5:

 2           The Commission states it will produce the Commission’s Investigative File, which includes

 3   non-privileged documents responsive to this request.

 4   Request for Production No. 6:

 5           All Documents created, reviewed, considered, or relied upon by You in preparing the

 6   Complaint filed in this Action, including, without limitation, any computations or analyses prepared

 7   by You underlying or related to any assertions in the Complaint.

 8   Response to Request for Production No. 6:

 9           The Commission objects to Request No. 6 as unduly burdensome, overbroad, and

10   oppressive.

11           The Commission further objects to Request No. 6 because the phrase “created, reviewed,

12   considered, or relied upon by You in preparing the Complaint” is vague and undefined.

13           The Commission further objects to Request No. 6 to the extent it seeks documents that are

14   Privileged. The Commission specifically objects because documents “created, reviewed,

15   considered, or relied upon” by the Commission, “computations or analyses”, and internal

16   Commission communications are all documents protected by the attorney-client and deliberative

17   process privileges and the work product doctrine.

18           Subject to and without waiving the foregoing objections, the Commission states it will

19   produce the Commission’s Investigative File, which includes non-privileged documents responsive

20   to this request.

21   Request for Production No. 7:

22           All Documents and Communications Concerning whether and/or how the federal or state

23   securities laws (including but not limited to, the Securities Act of 1933 and the Securities Exchange

24   Act of 1934) apply to Kraken, Digital Asset Trading Platforms, bitcoin, ether, ADA, ALGO,

25   ATOM, FIL, FLOW, ICP, MANA, MATIC, NEAR, OMG, and/or SOL.

26   Response to Request for Production No. 7:

27           The Commission objects to Request No. 7 as unduly burdensome, overbroad, and

28   oppressive.

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 1           The Commission further objects to Request No. 7 because “how . . . securities laws . . .

 2   apply” is vague and undefined.

 3           The Commission further objects to Request No. 7, to the extent it seeks documents that are

 4   Privileged. The Commission specifically objects because documents “Concerning whether and/or

 5   how [any] federal or state securities laws . . . apply” calls for internal Commission documents

 6   protected by the attorney-client and deliberative process privileges and the work product doctrine.

 7           The Commission further objects to Request No. 7 to the extent it seeks documents that are

 8   not relevant nor proportional to the needs of the case.

 9           Subject to and without waiving the foregoing objections, the Commission states it will

10   produce the Commission’s Investigative File, which includes non-privileged documents responsive

11   to this request.

12   Request for Production No. 8:

13           All Documents and Communications Concerning whether and/or how the federal or state

14   securities laws (including but not limited to, the Securities Act of 1933 and the Securities Exchange

15   Act of 1934) apply to sales of commodities and/or collectibles.

16   Response to Request for Production No. 8:

17           The Commission objects to Request No. 8 as unduly burdensome, overbroad, and

18   oppressive.

19           The Commission further objects to Request No. 8 because “how . . . securities laws . . .

20   apply” and “commodities and/or collectibles” is vague and undefined.

21           The Commission further objects to Request No. 8, to the extent it seeks documents that are

22   Privileged. The Commission specifically objects because documents “Concerning whether and/or

23   how [any] federal or state securities laws . . . apply” calls for internal Commission documents

24   protected by the attorney-client and deliberative process privileges and the work product doctrine.

25           The Commission further objects to Request No. 8 to the extent it seeks documents that are

26   not relevant nor proportional to the needs of the case.

27           Based on the above-stated objections, the Commission is not searching for or producing

28   documents responsive to this request.

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 1   Request for Production No. 9:

 2             All Documents memorializing, evidencing, or Concerning any Communication with any

 3   individuals, companies, or groups representing the interests of entities involved in Virtual

 4   Currencies and/or Digital Assets Concerning the application of federal securities laws (including,

 5   but not limited to, the Securities Act of 1933 and the Securities Exchange Act of 1934) to Virtual

 6   Currencies and/or Digital Assets and the offer and sale of such Virtual Currencies and/or Digital

 7   Assets.

 8   Response to Request for Production No. 9:

 9             The Commission objects to Request No. 9 as unduly burdensome, overbroad, and

10   oppressive.

11             The Commission further objects to Request No. 9, to the extent it seeks documents that are

12   not relevant nor proportional to the needs of the case.

13             The Commission further objects to Request No. 9 as it seeks documents that are Privileged.

14             Based on the above-stated objections, the Commission is not searching for or producing

15   documents responsive to this request.

16   Request for Production No. 10:

17             All Documents, Communications, and Documents Concerning such Communications

18   Concerning Kraken, the Investigation, and/or this Action, including but not limited to:

19                    a.     Any formal, informal, or voluntary requests by the SEC for Documents or

20                           information concerning Kraken, the Investigation, and/or this Action;

21                    b.     Documents and Communications received by the SEC from third parties;

22                    c.     Communications with Persons or entities not party to this Action, including

23                           but not limited to, any Digital Asset issuers, Digital Asset Trading Platforms,

24                           and other Digital Asset market participants;

25                    d.     Documents and Communications Concerning any statements made or

26                           Documents provided by any third party (including through any agent of the

27                           third party), including Kraken’s auditor or any current or former Kraken

28                           employee or executive.

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 1   Response to Request for Production No. 10:

 2          The Commission objects to Request No. 10 as unduly burdensome, overbroad, and

 3   oppressive.

 4          The Commission further objects to Request No. 10, to the extent it seeks documents that are

 5   not relevant nor proportional to the needs of the case.

 6          The Commission further objects to Request No. 10, to the extent it seeks documents that are

 7   Privileged.

 8          Subject to and without waiving the foregoing objections, the Commission states it will

 9   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

10   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

11   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

12   proportional to the needs of the case.

13   Request for Production No. 11:

14          All Documents and Communications Concerning whether or when a Digital Asset and/or

15   Virtual Currency that was originally offered or sold in a manner that constitutes a securities

16   transaction could be later offered or sold in a manner that does not constitute a securities

17   transaction.

18   Response to Request for Production No. 11:

19          The Commission objects to Request No. 11 as unduly burdensome, overbroad, and

20   oppressive.

21          The Commission further objects to Request No. 11, to the extent it seeks documents that are

22   Privileged. The Commission specifically objects to Request No. 11 because it calls for internal

23   Commission documents protected by the attorney-client and deliberative process privileges and the

24   work product doctrine.

25          The Commission further objects to Request No. 11 to the extent it seeks documents that are

26   not relevant nor proportional to the needs of the case.

27          Based on the above-stated objections, the Commission is not searching for or producing

28   documents responsive to this request.

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 1   Request for Production No. 12:

 2          All Documents and Communications Concerning the application of federal securities laws to

 3   secondary market trading in Digital Assets, including but not limited to secondary market trading on

 4   Digital Asset Trading Platforms.

 5   Response to Request for Production No. 12:

 6          The Commission objects to Request No. 12 as unduly burdensome, overbroad, and

 7   oppressive.

 8          The Commission further objects to Request No. 12 because it is vague.

 9          The Commission further objects to Request No. 12, to the extent it seeks documents that are

10   Privileged. The Commission specifically objects to Request No. 12 because it calls for internal

11   Commission documents protected by the attorney-client and deliberative process privileges and the

12   work product doctrine.

13          The Commission further objects to Request No. 12 to the extent it seeks documents that are

14   not relevant nor proportional to the needs of the case.

15          Based on the above-stated objections, the Commission is not searching for or producing

16   documents responsive to this request.

17   Request for Production No. 13:

18          All Documents and Communications Concerning the DAO Report and Your Release No.

19   81207, dated July 25, 2017.

20   Response to Request for Production No. 13:

21          The Commission objects to Request No. 13 as unduly burdensome, overbroad, and

22   oppressive. The Commission also specifically objects to the request to the extent that the DAO

23   Report is public and thus available to Defendants.

24          The Commission further objects to Request No. 13 because it seeks documents that are not

25   relevant nor proportional to the needs of the case.

26          The Commission further objects to Request No. 13, to the extent it seeks documents that are

27   Privileged.

28          Based on the above-stated objections, the Commission is not searching for or producing

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 1   documents responsive to this request.

 2   Request for Production No. 14:

 3          All Documents and Communications Concerning the “Framework for ‘Investment Contract’

 4   Analysis of Digital Assets” published by the Strategic Hub for Innovation and Financial

 5   Technology (“FinHub”) of the SEC on April 3, 2019.

 6   Response to Request for Production No.14 :

 7          The Commission objects to Request No. 14 as unduly burdensome, overbroad, and

 8   oppressive. The Commission also specifically objects to the request to the extent that the

 9   Framework for ‘Investment Contract’ Analysis of Digital Assets is public and thus available to

10   Defendants.

11          The Commission further objects to Request No. 14 because it seeks documents that are not

12   relevant nor proportional to the needs of the case.

13          The Commission further objects to Request No. 14, to the extent it seeks documents that are

14   Privileged.

15          Based on the above-stated objections, the Commission is not searching for or producing

16   documents responsive to this request.

17   Request for Production No. 15:

18          All Documents Concerning the June 14, 2018, statements by former SEC Director of the

19   Division of Corporation Finance William Hinman regarding bitcoin and ether’s status under U.S.

20   securities laws, including but not limited to:

21                  a.      All Documents Concerning, and Communications with, the Bitcoin

22   Foundation and/or other relevant companies or individuals in the bitcoin ecosystem, and all

23   Communications with any attorneys or other individuals representing the Bitcoin Foundation or

24   other relevant companies or individuals in the bitcoin ecosystem;

25                  b.      All Documents Concerning, and Communications with, the Ethereum

26   Foundation and/or other relevant companies (including ConsenSys) or individuals in the ether

27   “ecosystem”, and all Communications with any attorneys or other individuals representing the

28   Ethereum Foundation or other relevant companies or individuals in the ether ecosystem;

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 1                  c.      All Documents, including internal Communications, analyses, and other

 2   materials, that were prepared or relied upon by Director Hinman, or any other current or former

 3   SEC Division Director, Staff, or Commissioner in reaching the determination that bitcoin and ether

 4   are not securities or not offered and sold as securities, including drafts of Director Hinman’s

 5   statements regarding bitcoin and ether and analyses prepared by SEC staff; and

 6                  d.      All Documents and Communications produced by You in the civil action

 7   SEC v. Ripple Labs, Inc., et al., Case No. 20-cv-10832 (AT) (SN).

 8   Response to Request for Production No. 15:

 9          The Commission objects to Request No. 15 as unduly burdensome, overbroad, and

10   oppressive. The Commission also specifically objects to the request to the extent that the referenced

11   speech is publicly available on the Commission’s website, and certain documents produced by the

12   Commission in the above-referenced matter were publicly filed on the docket in that matter and are

13   thus available to Defendants.

14          The Commission further objects to Request No. 15 because it seeks documents that are not

15   relevant nor proportional to the needs of the case.

16          The Commission further objects to Request No. 15, to the extent it seeks documents that are

17   Privileged.

18          Based on the above-stated objections, the Commission is not searching for or producing

19   documents responsive to this request.

20   Request for Production No. 16:

21          Your complete investigative file in connection with the Staking Investigation, including but

22   not limited to the following:

23                  a.      All subpoenas, voluntary document requests, and other requests to provide

24   documents, testimony, or an interview, including Documents evidencing or memorializing the terms

25   of any testimony or interview (including proffer agreements) of any Person or entity from whom

26   You gathered information in connection with the Staking Investigation;

27                  b.      All documents received in response to any such requests, or otherwise

28   obtained by You from third parties or third-party sources;

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 1                   c.        All transcripts, transcript exhibits, recorded testimony, verbatim notes,

 2   declarations, affidavits, witness interview notes and memos and witness statements;

 3                   d.        All Documents and Communications Concerning the Staking Investigation.

 4   As examples, but without limitation, this category includes all correspondence (including email),

 5   cover letters, subpoenas, witness statements, declarations, affidavits, memoranda, summaries, or

 6   notes, and any drafts and versions of the foregoing, sent to, or received from any witness, potential

 7   witness, entities, or their counsel. For the avoidance of doubt, this Request for Production includes

 8   the formal order memorandum, the action memorandum, and emails and other Communications

 9   between the staff of the Enforcement Division and SEC Commissioners or other SEC Divisions and

10   their respective staff;

11                   e.        All Documents memorializing, evidencing, or Concerning any

12   Communications You had with any Government Entity and/or any other third party relating to the

13   Staking Investigation

14                   f.        All Documents or Communications Concerning any formal and/or informal

15   cooperation agreement between You and any Person or entity from whom You gathered

16   information in connection with the Staking Investigation; and

17                   g.        Your Contact List and Document Index for the Staking Investigation, as

18   contemplated in Section 3.2.9.4 of the SEC Enforcement Manual.

19   Response to Request for Production No. 16:

20           The Commission objects to Request No. 16 as unduly burdensome, overbroad, and

21   oppressive.

22           The Commission further objects to Request No. 16 to the extent that certain responsive

23   documents are in the possession, custody, or control of, or equally available, to Defendants.

24           The Commission further objects to Request No. 16 because it seeks documents that are not

25   relevant nor proportional to the needs of the case.

26           The Commission further objects to Request No. 16, to the extent it seeks documents that are

27   Privileged.

28           Subject to and without waiving the foregoing objections, the Commission states it will

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 1   conduct a reasonable search for Non-privileged documents that are responsive to this request,

 2   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

 3   Request for Production No. 17:

 4          Your complete investigative file in connection with the Coinbase Investigation, including

 5   but not limited to the following:

 6                  a.      All subpoenas, voluntary document requests, and other requests to provide

 7   documents, testimony, or an interview, including Documents evidencing or memorializing the terms

 8   of any testimony or interview (including proffer agreements) of any Person or entity from whom

 9   You gathered information in connection with the Coinbase Investigation;

10                  b.      All documents received in response to any such requests, or otherwise

11   obtained by You from third parties or third-party sources;

12                  c.      All transcripts, transcript exhibits, recorded testimony, verbatim notes,

13   declarations, affidavits, witness interview notes and memos and witness statements;

14                  d.      All Documents and Communications Concerning the Coinbase Investigation.

15   As examples, but without limitation, this category includes all correspondence (including email),

16   cover letters, subpoenas, witness statements, declarations, affidavits, memoranda, summaries, or

17   notes, and any drafts and versions of the foregoing, sent to, or received from any witness, potential

18   witness, entities, or their counsel. For the avoidance of doubt, this Request for Production includes

19   the formal order memorandum, the action memorandum, and emails and other communications

20   between the staff of the Enforcement Division and SEC Commissioners or other SEC Divisions and

21   their respective staff; and

22                  e.      All Documents memorializing, evidencing, or Concerning any

23   Communications You had with any Government Entity and/or any other third party relating to the

24   Coinbase Investigation.

25   Response to Request for Production No. 17:

26          The Commission objects to Request No. 17 as unduly burdensome, overbroad, and

27   oppressive.

28          The Commission further objects to Request No. 17 because it seeks documents that are not

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 1   relevant nor proportional to the needs of the case.

 2          The Commission further objects to Request No. 17, to the extent it seeks documents that are

 3   Privileged.

 4          Subject to and without waiving the foregoing objections, the Commission states it will

 5   conduct a reasonable search for Non-privileged documents that are responsive to this request,

 6   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

 7   Request for Production No. 18:

 8          All Documents and Communications produced by You in the civil action SEC v. Coinbase,

 9   Inc., et al., Case No. 1:23-cv-04738-KPF.

10   Response to Request for Production No. 18:

11          The Commission objects to Request No. 18 as unduly burdensome, overbroad, and

12   oppressive. The Commission also specifically objects to the request to the extent that certain

13   documents produced by the Commission in the above-referenced matter were publicly filed on the

14   docket in that matter and are thus available to Defendants.

15          The Commission objects to Request No. 18 because it seeks documents that are not relevant

16   nor proportional to the needs of the case.

17          Subject to and without waiving the foregoing objections, the Commission states it will

18   conduct a reasonable search for Non-privileged documents that are responsive to this request,

19   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

20   Request for Production No. 19:

21          Your complete investigative file in connection with the Binance Investigation, including but

22   not limited to the following:

23                  a.      All subpoenas, voluntary document requests, and other requests to provide

24   documents, testimony, or an interview, including Documents evidencing or memorializing the terms

25   of any testimony or interview (including proffer agreements) of any Person or entity from whom

26   You gathered information in connection with the Binance Investigation;

27                  b.      All documents received in response to any such requests, or otherwise

28   obtained by You from third parties or third-party sources;

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 1                  c.        All transcripts, transcript exhibits, recorded testimony, verbatim notes,

 2   declarations, affidavits, witness interview notes and memos and witness statements;

 3                  d.        All Documents and Communications Concerning the Binance Investigation.

 4   As examples, but without limitation, this category includes all correspondence (including email),

 5   cover letters, subpoenas, witness statements, declarations, affidavits, memoranda, summaries, or

 6   notes, and any drafts and versions of the foregoing, sent to, or received from any witness, potential

 7   witness, entities, or their counsel. For the avoidance of doubt, this Request for Production includes

 8   the formal order memorandum, the action memorandum, and emails and other communications

 9   between the staff of the Enforcement Division and SEC Commissioners or other SEC Divisions and

10   their respective staff; and

11                  e.        All Documents memorializing, evidencing, or Concerning any

12   Communications You had with any Government Entity and/or any other third party relating to the

13   Binance Investigation.

14   Response to Request for Production No. 19:

15          The Commission objects to Request No. 19 as unduly burdensome, overbroad, and

16   oppressive.

17          The Commission further objects to Request No. 19 because it seeks documents that are not

18   relevant nor proportional to the needs of the case.

19          The Commission further objects to Request No. 19, to the extent it seeks documents that are

20   Privileged.

21          Subject to and without waiving the foregoing objections, the Commission states it will

22   conduct a reasonable search for Non-privileged documents that are responsive to this request,

23   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

24
25   Request for Production No. 20:

26          All Documents and Communications produced by You in the civil action SEC v. Binance

27   Holdings Ltd., et al., Case No. 1:23-cv-01599-ABJ-ZMF.

28   Response to Request for Production No. 20:

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 1          The Commission objects to Request No. 20 as unduly burdensome, overbroad, and

 2   oppressive. The Commission also specifically objects to the request to the extent that certain

 3   documents produced by the Commission in the above-referenced matter were publicly filed on the

 4   docket in that matter and are thus available to Defendants.

 5          The Commission objects to Request No. 20 because it seeks documents that are not relevant

 6   nor proportional to the needs of the case.

 7          Subject to and without waiving the foregoing objections, the Commission states it will

 8   conduct a reasonable search for Non-privileged documents that are responsive to this request,

 9   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

10   Request for Production No. 21:

11          Your complete investigative file in connection with the Bittrex Investigation, including but

12   not limited to the following:

13                  a.      All subpoenas, voluntary document requests, and other requests to provide

14   documents, testimony, or an interview, including Documents evidencing or memorializing the terms

15   of any testimony or interview (including proffer agreements) of any Person or entity from whom

16   You gathered information in connection with the Bittrex Investigation;

17                  b.      All documents received in response to any such requests, or otherwise

18   obtained by You from third parties or third-party sources;

19                  c.      All transcripts, transcript exhibits, recorded testimony, verbatim notes,

20   declarations, affidavits, witness interview notes and memos and witness statements;

21                  d.      All Documents and Communications Concerning the Bittrex Investigation.

22   As examples, but without limitation, this category includes all correspondence (including email),

23   cover letters, subpoenas, witness statements, declarations, affidavits, memoranda, summaries, or

24   notes, and any drafts and versions of the foregoing, sent to, or received from any witness, potential

25   witness, entities, or their counsel. For the avoidance of doubt, this Request for Production includes

26   the formal order memorandum, the action memorandum, and emails and other communications

27   between the staff of the Enforcement Division and SEC Commissioners or other SEC Divisions and

28   their respective staff; and

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 1                  e.        All Documents memorializing, evidencing, or Concerning any

 2   Communications You had with any Government Entity and/or any other third party relating to the

 3   Bittrex Investigation.

 4   Response to Request for Production No. 21:

 5          The Commission objects to Request No. 21 as unduly burdensome, overbroad, and

 6   oppressive.

 7          The Commission further objects to Request No. 21 because it seeks documents that are not

 8   relevant nor proportional to the needs of the case.

 9          The Commission further objects to Request No. 21, to the extent it seeks documents that are

10   Privileged.

11          Subject to and without waiving the foregoing objections, the Commission states it will

12   conduct a reasonable search for Non-privileged documents that are responsive to this request,

13   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

14   Request for Production No. 22:

15          All Documents and Communications produced by You in the civil action SEC v. Bittrex,

16   Inc., et al., Case No. 2:23-cv-00580-RSM.

17   Response to Request for Production No. 22:

18          The Commission objects to Request No. 22 as unduly burdensome, overbroad, and

19   oppressive. The Commission also specifically objects to the request to the extent that certain

20   documents produced by the Commission in the above-referenced matter were publicly filed on the

21   docket in that matter and are thus available to Defendants.

22          The Commission objects to Request No. 22 because it seeks documents that are not relevant

23   nor proportional to the needs of the case.

24          Subject to and without waiving the foregoing objections, the Commission states it will

25   conduct a reasonable search for Non-privileged documents that are responsive to this request,

26   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

27   Request for Production No. 23:

28          Your complete investigative file in connection with the Dapper Labs Investigation,

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 1   including but not limited to the following:

 2                  a.      All subpoenas, voluntary document requests, and other requests to provide

 3   documents, testimony, or an interview, including Documents evidencing or memorializing the terms

 4   of any testimony or interview (including proffer agreements) of any Person or entity from whom

 5   You gathered information in connection with the Dapper Labs Investigation;

 6                  b.      All documents received in response to any such requests, or otherwise

 7   obtained by You from third parties or third-party sources;

 8                  c.      All transcripts, transcript exhibits, recorded testimony, verbatim notes,

 9   declarations, affidavits, witness interview notes and memos and witness statements;

10                  d.      All Documents and Communications Concerning the Dapper Labs

11   Investigation. As examples, but without limitation, this category includes all correspondence

12   (including email), cover letters, subpoenas, witness statements, declarations, affidavits, memoranda,

13   summaries, or notes, and any drafts and versions of the foregoing, sent to, or received from any

14   witness, potential witness, entities, or their counsel. For the avoidance of doubt, this Request for

15   Production includes any formal order memorandum, any action memorandum, and emails and other

16   communications between the staff of the Enforcement Division and SEC Commissioners or other

17   SEC Divisions and their respective staff; and

18                  e.      All Documents memorializing, evidencing, or Concerning any

19   Communications You had with any Government Entity and/or any other third party relating to the

20   Dapper Labs Investigation.

21   Response to Request for Production No. 23:

22          The Commission objects to Request No. 23 as unduly burdensome, overbroad, and

23   oppressive.

24          The Commission further objects to Request No. 23 because it seeks documents that are not

25   relevant nor proportional to the needs of the case.

26          The Commission further objects to Request No. 23, to the extent it seeks documents that are

27   Privileged.

28          Subject to and without waiving the foregoing objections, the Commission states it will

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 1   conduct a reasonable search for Non-privileged documents that are responsive to this request,

 2   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

 3   Request for Production No. 24:

 4          All Documents and Communications Concerning Your decision to close the Dapper Labs

 5   Investigation and/or not file a civil action as a result of the Dapper Labs Investigation.

 6   Response to Request for Production No. 24:

 7          The Commission objects to Request No. 24 as unduly burdensome, overbroad, and

 8   oppressive.

 9          The Commission further objects to Request No. 24 because it seeks documents that are not

10   relevant nor proportional to the needs of the case.

11          The Commission further objects to Request No. 24, to the extent it seeks documents that are

12   Privileged.

13          Based on the above-stated objections, the Commission is not searching for or producing

14   documents responsive to this request.

15   Request for Production No. 25:

16          All Documents and Communications Concerning Coinbase Global Inc.’s registration

17   statement, including but not limited to: Your evaluations of Coinbase Global Inc.’s Form S-1; Your

18   decision to declare the registration statement effective, as reflected in the Notice of Effectiveness

19   dated April 1, 2021, in file number 333-253482; and any reviews or investigations You conducted

20   that resulted in Your decision to declare Coinbase Global Inc.’s registration statement effective.

21   Response to Request for Production No. 25:

22          The Commission objects to Request No. 25 as unduly burdensome, overbroad, and

23   oppressive. The Commission specifically objects to the extent certain documents responsive to this

24   request—i.e., the Form S-1 and any drafts thereof or attachments thereto—are public and thus

25   available to Defendants.

26          The Commission further objects to Request No. 25 because it seeks only documents that are

27   not relevant nor proportional to the needs of the case.

28          The Commission further objects to Request No. 25, to the extent it seeks documents that are

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 1   Privileged.

 2          Based on the above-stated objections, the Commission is not searching for or producing

 3   documents responsive to this request.

 4   Request for Production No. 26:

 5          All Documents Concerning any Communication You had with any Government Entity

 6   relating to the Investigation or the allegations in the Complaint.

 7   Response to Request for Production No. 26:

 8          The Commission objects to Request No. 26 as unduly burdensome, overbroad, and

 9   oppressive.

10          The Commission also objects to Request No. 26, to the extent it seeks documents that are

11   not relevant nor proportional to the needs of the case.

12          The Commission further objects to Request No. 26 as it seeks documents that are Privileged.

13          Subject to and without waiving the foregoing objections, the Commission states it will

14   conduct a reasonable search for Non-privileged documents that are responsive to this request,

15   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

16   Request for Production No. 27:

17          All Documents Concerning any Communication You had with any Government Entity

18   relating to the Coinbase Investigation or the allegations in the SEC’s complaint against Coinbase,

19   Inc. and Coinbase Global, Inc. in the United States District Court for the Southern District of New

20   York (Civil Action No. 1:23-cv-04738-KPF, ECF No. 1).

21   Response to Request for Production No. 27:

22          The Commission objects to Request No. 27 as unduly burdensome, overbroad, and

23   oppressive.

24          The Commission also objects to Request No. 27, to the extent it seeks documents that are

25   not relevant nor proportional to the needs of the case.

26          The Commission further objects to Request No. 27 as it seeks documents that are Privileged.

27          Based on the above-stated objections, the Commission is not searching for or producing

28   documents responsive to this request.

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 1   Request for Production No. 28:

 2          All Documents Concerning any Communication You had with any Government Entity

 3   relating to the Binance Investigation or the allegations in the SEC’s complaint against Binance

 4   Holdings Limited, BAM Trading Services Inc., BAM Management US Holdings Inc., and

 5   Changpeng Zhao in the United States District Court for the District of Columbia (Civil Action No.

 6   1:23-cv-01599-ABJ-ZMF, ECF No. 1).

 7   Response to Request for Production No. 28:

 8          The Commission objects to Request No. 28 as unduly burdensome, overbroad, and

 9   oppressive.

10          The Commission also objects to Request No. 28, to the extent it seeks documents that are

11   not relevant nor proportional to the needs of the case.

12          The Commission further objects to Request No. 28 as it seeks documents that are Privileged.

13          Based on the above-stated objections, the Commission is not searching for or producing

14   documents responsive to this request.

15   Request for Production No. 29:

16          All Documents Concerning any Communication You had with any Government Entity

17   relating to the Bittrex Investigation or the allegations in the SEC’s complaint against Bittrex Inc.,

18   Bittrex Global GmbH, and William Hiroaki Shihara in the United States District Court for the

19   Western District of Washington (Civil Action No. 2:23-cv-00580-RSM, ECF No. 1).

20   Response to Request for Production No. 29:

21          The Commission objects to Request No. 29 as unduly burdensome, overbroad, and

22   oppressive.

23          The Commission also objects to Request No. 29, to the extent it seeks documents that are

24   not relevant nor proportional to the needs of the case.

25          The Commission further objects to Request No. 29 as it seeks documents that are Privileged.

26          Based on the above-stated objections, the Commission is not searching for or producing

27   documents responsive to this request.

28
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 1   Request for Production No. 30:

 2          All Documents created, reviewed, considered, or relied upon by the SEC’s Division of

 3   Economic Research and Analysis Concerning Digital Assets or Virtual Currencies, including but

 4   not limited to analysis of bitcoin and ether.

 5   Response to Request for Production No. 30:

 6          The Commission objects to Request No. 30 as unduly burdensome, overbroad, and

 7   oppressive.

 8          The Commission further objects to Request No. 30 because it is vague and ambiguous.

 9          The Commission further objects to Request No. 30, to the extent it seeks documents that are

10   not relevant nor proportional to the needs of the case.

11          The Commission further objects to Request No. 30, to the extent it seeks documents that are

12   Privileged. The Commission specifically objects to Defendants’ request for “analysis” done by or

13   on behalf of the Commission, which is protected by the work product doctrine and also premature

14   under and/or protected by Federal Rules 26(a)(2), 26(b)(3) and 26(b)(4).

15          Based on the above-stated objections, the Commission is not searching for or producing

16   documents responsive to this request.

17   Request for Production No. 31:

18          All Documents created, reviewed, considered, or relied upon by the SEC Concerning the

19   regulation of Digital Assets or Virtual Currencies, including but not limited to analysis of bitcoin

20   and ether as currencies under the laws of the United States.

21   Response to Request for Production No.31 :

22          The Commission objects to Request No. 31 as unduly burdensome, overbroad, and

23   oppressive.

24          The Commission further objects to Request No. 31 because it is vague and ambiguous.

25          The Commission also objects to Request No. 31, to the extent it seeks documents that are

26   not relevant nor proportional to the needs of the case.

27          The Commission further objects to Request No. 31, to the extent it seeks documents that are

28   Privileged.

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 1          Based on the above-stated objections, the Commission is not searching for or producing

 2   documents responsive to this request.

 3   Request for Production No. 32:

 4          All Documents created, reviewed, considered, or relied upon by the SEC Concerning the

 5   regulation of Digital Asset Trading Platforms.

 6   Response to Request for Production No. 32:

 7          The Commission objects to Request No. 32 as unduly burdensome, overbroad, and

 8   oppressive.

 9          The Commission also objects to Request No. 32, to the extent it seeks documents that are

10   not relevant nor proportional to the needs of the case.

11          The Commission further objects to Request No. 32, to the extent it seeks documents that are

12   Privileged.

13          Based on the above-stated objections, the Commission is not searching for or producing

14   documents responsive to this request.

15   Request for Production No. 33:

16          All Documents and Communications Concerning the SEC’s approval of the listing and

17   trading of shares of the Grayscale Ethereum Trust, the Bitwise Ethereum ETF, the iShares

18   Ethereum Trust, the VanEck Ethereum Trust, the ARK 21Shares Ethereum ETF, the Invesco

19   Galaxy Ethereum ETF, the Fidelity Ethereum Fund, and the Franklin Ethereum ETF.

20   Response to Request for Production No.33 :

21          The Commission objects to Request No. 33 as unduly burdensome, overbroad, and

22   oppressive.

23          The Commission also objects to Request No. 33, to the extent it seeks documents that are

24   not relevant nor proportional to the needs of the case.

25          The Commission further objects to Request No. 33, to the extent it seeks documents that are

26   Privileged.

27          Based on the above-stated objections, the Commission is not searching for or producing

28   documents responsive to this request.

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 1   Request for Production No. 34:

 2          All Documents and Communications Concerning the Ethereum Foundation’s ownership or

 3   control of ether tokens.

 4   Response to Request for Production No. 34:

 5          The Commission objects to Request No. 34 as unduly burdensome, overbroad, and

 6   oppressive.

 7          The Commission also objects to Request No. 34, to the extent it seeks documents that are

 8   not relevant nor proportional to the needs of the case.

 9          The Commission further objects to Request No. 34, to the extent it seeks documents that are

10   Privileged.

11          Based on the above-stated objections, the Commission is not searching for or producing

12   documents responsive to this request.

13   Request for Production No. 35:

14          All Documents and Communications Concerning ADA, the Cardano blockchain, the

15   Cardano Foundation, IOHK, Emurgo or any of their current or former founders, directors, officers,

16   or personnel, including but not limited to any notes, memoranda, or summaries; any formal,

17   informal or voluntary requests by You for documents or information from any Person; and all

18   Documents or Communications You received in response to such formal, informal or voluntary

19   requests.

20   Response to Request for Production No. 35:

21          The Commission objects to Request No. 35 as unduly burdensome, overbroad, and

22   oppressive.

23          The Commission further objects to Request No. 35 because it seeks documents that are not

24   relevant nor proportional to the needs of the case.

25          The Commission further objects to Request No. 35, to the extent it seeks documents that are

26   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

27   or summaries” on the grounds that such materials are protected by the work product doctrine.

28          Subject to and without waiving the foregoing objections, the Commission states it will

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 1   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

 2   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

 3   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

 4   proportional to the needs of the case.

 5   Request for Production No. 36:

 6          All Documents and Communications Concerning ALGO, the Algorand blockchain, the

 7   Algorand Foundation Ltd. or any of its current or former founders, directors, officers, or personnel,

 8   including but not limited to any notes, memoranda, or summaries; any formal, informal or voluntary

 9   requests by You for documents or information from any Person; and all Documents or

10   Communications You received in response to such formal, informal or voluntary requests.

11   Response to Request for Production No.36 :

12          The Commission objects to Request No. 36 as unduly burdensome, overbroad, and

13   oppressive.

14          The Commission further objects to Request No. 36 because it seeks documents that are not

15   relevant nor proportional to the needs of the case.

16          The Commission further objects to Request No. 36, to the extent it seeks documents that are

17   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

18   or summaries” on the grounds that such materials are protected by the work product doctrine.

19          Subject to and without waiving the foregoing objections, the Commission states it will

20   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

21   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

22   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

23   proportional to the needs of the case.

24   Request for Production No. 37:

25          All Documents and Communications Concerning ATOM, the Cosmos Hub, the Cosmos

26   Network, the Interchain Foundation, Interchain GmbH, LLC, All in Bits, Inc. d/b/a Tendermint

27   (n/k/a Ignite, Inc.), NewTendermint, Inc. or any of their current or former founders, directors,

28   officers, or personnel, including but not limited to any notes, memoranda, or summaries; any

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 1   formal, informal or voluntary requests by You for documents or information from any Person; and

 2   all Documents or Communications You received in response to such formal, informal or voluntary

 3   requests.

 4   Response to Request for Production No. 37:

 5          The Commission objects to Request No. 37 as unduly burdensome, overbroad, and

 6   oppressive.

 7          The Commission further objects to Request No. 37 because it seeks documents that are not

 8   relevant nor proportional to the needs of the case.

 9          The Commission further objects to Request No. 37, to the extent it seeks documents that are

10   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

11   or summaries” on the grounds that such materials are protected by the work product doctrine.

12          Subject to and without waiving the foregoing objections, the Commission states it will

13   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

14   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

15   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

16   proportional to the needs of the case.

17   Request for Production No. 38:

18          All Documents and Communications Concerning FIL, the Filecoin network, Protocol Labs

19   or any of its current or former founders, directors, officers, or personnel, including but not limited to

20   any notes, memoranda, or summaries; any formal, informal or voluntary requests by You for

21   documents or information from any Person; and all Documents or Communications You received in

22   response to such formal, informal or voluntary requests.

23   Response to Request for Production No. 38:

24          The Commission objects to Request No. 38 as unduly burdensome, overbroad, and

25   oppressive.

26          The Commission further objects to Request No. 38 because it seeks documents that are not

27   relevant nor proportional to the needs of the case.

28          The Commission further objects to Request No. 38, to the extent it seeks documents that are

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 1   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

 2   or summaries” on the grounds that such materials are protected by the work product doctrine.

 3          Subject to and without waiving the foregoing objections, the Commission states it will

 4   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

 5   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

 6   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

 7   proportional to the needs of the case.

 8   Request for Production No. 39:

 9          All Documents and Communications Concerning FLOW, the Flow blockchain, Dapper Labs

10   or any of its current or former founders, directors, officers, or personnel, including but not limited to

11   any notes, memoranda, or summaries; any formal, informal or voluntary requests by You for

12   documents or information from any Person; and all Documents or Communications You received in

13   response to such formal, informal or voluntary requests.

14   Response to Request for Production No. 39:

15          The Commission objects to Request No. 39 as unduly burdensome, overbroad, and

16   oppressive.

17          The Commission further objects to Request No. 39 because it seeks documents that are not

18   relevant nor proportional to the needs of the case.

19          The Commission further objects to Request No. 39, to the extent it seeks documents that are

20   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

21   or summaries” on the grounds that such materials are protected by the work product doctrine.

22          Subject to and without waiving the foregoing objections, the Commission states it will

23   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

24   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

25   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

26   proportional to the needs of the case.

27   Request for Production No. 40:

28          All Documents and Communications Concerning ICP, DNF, the “Internet Computer

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 1   Protocol,” DFINITY Foundation or any of its current or former founders, directors, officers, or

 2   personnel, including but not limited to any notes, memoranda, or summaries; any formal, informal

 3   or voluntary requests by You for documents or information from any Person; and all Documents or

 4   Communications You received in response to such formal, informal or voluntary requests.

 5   Response to Request for Production No. 40:

 6          The Commission objects to Request No. 40 as unduly burdensome, overbroad, and

 7   oppressive.

 8          The Commission further objects to Request No. 40 because it seeks documents that are not

 9   relevant nor proportional to the needs of the case.

10          The Commission further objects to Request No. 40, to the extent it seeks documents that are

11   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

12   or summaries” on the grounds that such materials are protected by the work product doctrine.

13          Subject to and without waiving the foregoing objections, the Commission states it will

14   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

15   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

16   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

17   proportional to the needs of the case.

18   Request for Production No. 41:

19          All Documents and Communications Concerning MANA, Decentraland, Metaverse

20   Holdings or any of its current or former founders, directors, officers, or personnel, including but not

21   limited to any notes, memoranda, or summaries; any formal, informal or voluntary requests by You

22   for documents or information from any Person; and all Documents or Communications You

23   received in response to such formal, informal or voluntary requests.

24   Response to Request for Production No. 41:

25          The Commission objects to Request No. 41 as unduly burdensome, overbroad, and

26   oppressive.

27          The Commission further objects to Request No. 41 because it seeks documents that are not

28   relevant nor proportional to the needs of the case.

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 1          The Commission further objects to Request No. 41, to the extent it seeks documents that are

 2   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

 3   or summaries” on the grounds that such materials are protected by the work product doctrine.

 4          Subject to and without waiving the foregoing objections, the Commission states it will

 5   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

 6   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

 7   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

 8   proportional to the needs of the case.

 9   Request for Production No. 42:

10          All Documents and Communications Concerning MATIC, the Polygon blockchain,

11   Polygon, the Matic Network, Polygon Labs or any of their current or former founders, directors,

12   officers, or personnel, including but not limited to any notes, memoranda, or summaries; any

13   formal, informal or voluntary requests by You for documents or information from any Person; and

14   all Documents or Communications You received in response to such formal, informal or voluntary

15   requests.

16   Response to Request for Production No. 42:

17          The Commission objects to Request No. 42 as unduly burdensome, overbroad, and

18   oppressive.

19          The Commission further objects to Request No. 42 because it seeks documents that are not

20   relevant nor proportional to the needs of the case.

21          The Commission further objects to Request No. 42, to the extent it seeks documents that are

22   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

23   or summaries” on the grounds that such materials are protected by the work product doctrine.

24          Subject to and without waiving the foregoing objections, the Commission states it will

25   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

26   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

27   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

28   proportional to the needs of the case.

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 1   Request for Production No. 43:

 2          All Documents and Communications Concerning NEAR, the NEAR blockchain protocol,

 3   Near, Inc., the NEAR Foundation or any of their current or former founders, directors, officers, or

 4   personnel, including but not limited to any notes, memoranda, or summaries; any formal, informal

 5   or voluntary requests by You for documents or information from any Person; and all Documents or

 6   Communications You received in response to such formal, informal or voluntary requests.

 7   Response to Request for Production No. 43:

 8          The Commission objects to Request No. 43 as unduly burdensome, overbroad, and

 9   oppressive.

10          The Commission further objects to Request No. 43 because it seeks documents that are not

11   relevant nor proportional to the needs of the case.

12          The Commission further objects to Request No. 43 to the extent it seeks documents that are

13   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

14   or summaries” on the grounds that such materials are protected by the work product doctrine.

15          Subject to and without waiving the foregoing objections, the Commission states it will

16   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

17   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

18   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

19   proportional to the needs of the case.

20   Request for Production No. 44:

21          All Documents and Communications Concerning OMG, the OMG Network, OmiseGO,

22   Genesis Block Ventures, the Boba Network, the BOBA Foundation or any of their current or former

23   founders, directors, officers, or personnel, including but not limited to any notes, memoranda, or

24   summaries; any formal, informal or voluntary requests by You for documents or information from

25   any Person; and all Documents or Communications You received in response to such formal,

26   informal or voluntary requests.

27   Response to Request for Production No. 44:

28          The Commission objects to Request No. 44 as unduly burdensome, overbroad, and

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 1   oppressive.

 2          The Commission further objects to Request No. 44 because it seeks documents that are not

 3   relevant nor proportional to the needs of the case.

 4          The Commission further objects to Request No. 44, to the extent it seeks documents that are

 5   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

 6   or summaries” on the grounds that such materials are protected by the work product doctrine.

 7          Subject to and without waiving the foregoing objections, the Commission states it will

 8   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

 9   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

10   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

11   proportional to the needs of the case.

12   Request for Production No. 45:

13          All Documents and Communications Concerning SOL, the Solana blockchain, Solana Labs,

14   Inc. or its current or former founders, directors, officers, or personnel, including but not limited to

15   any notes, memoranda, or summaries; any formal, informal or voluntary requests by You for

16   documents or information from any Person; and all Documents or Communications You received in

17   response to such formal, informal or voluntary requests.

18   Response to Request for Production No. 45:

19          The Commission objects to Request No. 45 as unduly burdensome, overbroad, and

20   oppressive.

21          The Commission further objects to Request No. 45 because it seeks documents that are not

22   relevant nor proportional to the needs of the case.

23          The Commission further objects to Request No. 45, to the extent it seeks documents that are

24   Privileged. The Commission specifically objects to Defendants’ request for “any notes, memoranda,

25   or summaries” on the grounds that such materials are protected by the work product doctrine.

26          Subject to and without waiving the foregoing objections, the Commission states it will

27   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

28   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

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 1   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

 2   proportional to the needs of the case.

 3   Request for Production No. 46:

 4          All Documents and Communications Concerning any alleged “ecosystems” for ADA,

 5   ALGO, ATOM, FIL, FLOW, ICP, MANA, MATIC, NEAR, OMG, and/or SOL.

 6   Response to Request for Production No. 46:

 7          The Commission objects to Request No. 46 as unduly burdensome, overbroad, and

 8   oppressive.

 9          The Commission further objects to Request No. 46 because it seeks documents that are not

10   relevant nor proportional to the needs of the case.

11          The Commission further objects to Request No. 46, to the extent it seeks documents that are

12   Privileged.

13          Subject to and without waiving the foregoing objections, the Commission states it will

14   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

15   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

16   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

17   proportional to the needs of the case.

18   Request for Production No. 47:

19          All Documents and Communications Concerning any Person or entity’s acts or intentions to

20   trade, hold, broker, maintain custody or deal in, or otherwise use ADA, ALGO, ATOM, FIL,

21   FLOW, ICP, MANA, MATIC, NEAR, OMG, and/or SOL for any purpose.

22   Response to Request for Production No. 47:

23          The Commission objects to Request No. 47 as unduly burdensome, overbroad, and

24   oppressive.

25          The Commission further objects to Request No. 47 because it is vague and ambiguous as to

26   “acts or intentions.”

27          The Commission further objects to Request No. 47 because it seeks documents that are not

28   relevant nor proportional to the needs of the case.

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 1          The Commission further objects to Request No. 47 to the extent it seeks documents that are

 2   Privileged.

 3          Subject to and without waiving the foregoing objections, the Commission states it will

 4   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

 5   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

 6   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

 7   proportional to the needs of the case.

 8   Request for Production No. 48:

 9          All Documents and Communications with the issuers of, and/or Persons or organizations

10   associated with, ADA, ALGO, ATOM, FIL, FLOW, ICP, MANA, MATIC, NEAR, OMG, and/or

11   SOL directing them to cease, or refrain from, selling Digital Assets, or informing them that any

12   Digital Assets are a “security” or were offered or sold as a security within the meaning of the

13   Securities Act of 1933 and/or Securities Exchange Act of 1934.

14   Response to Request for Production No. 48:

15          The Commission objects to Request No. 48 as unduly burdensome, overbroad, and

16   oppressive.

17          The Commission further objects to Request No. 48 because it seeks documents that are not

18   relevant nor proportional to the needs of the case.

19          The Commission further objects to Request No. 48, to the extent it seeks documents that are

20   Privileged.

21          Subject to and without waiving the foregoing objections, the Commission states it will

22   conduct a reasonable search for Non-privileged documents that are responsive to this request,

23   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

24   Request for Production No. 49:

25          All SEC policies governing SEC employees’ ownership, trading in, or purchase or sale of,

26   Digital Assets and/or Virtual Currencies, including all changes and updates to those policies.

27   Response to Request for Production No. 49:

28          The Commission objects to Request No. 49 as unduly burdensome, overbroad, and

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 1   oppressive.

 2          The Commission further objects to Request No. 49 because it seeks documents that are not

 3   relevant nor proportional to the needs of the case.

 4          The Commission further objects to Request No. 49, to the extent it seeks documents that are

 5   Privileged.

 6          Subject to and without waiving the foregoing objections, the Commission states that 18

 7   U.S.C. § 208, which is publicly available, bars an employee from working on a matter that will have

 8   a direct and predictable effect on the employee’s financial interests, or those of the employee’s

 9   spouse or minor child. Commission employees are also subject to the Supplemental Standards of

10   Ethical Conduct for Members and Employees of the Securities and Exchange Commission, publicly

11   available and codified at 5 C.F.R. Part 4401. To the extent there are other ethics regulations that

12   govern Commission employees’ “purchase, use, ownership, or trading” of crypto assets or “use of

13   Digital Asset Platforms,” they are public and thus available to Defendants.

14          Based on the above-stated objections, the Commission is not searching for or producing

15   documents responsive to this request.

16   Request for Production No. 50:

17          All Documents and Communications concerning the utilization by You and/or any other

18   Government Entity of Kraken’s Digital Asset Trading Platform.

19   Response to Request for Production No. 50:

20          The Commission objects to Request No. 50 as unduly burdensome, overbroad, and

21   oppressive.

22          The Commission further objects to Request No. 50 because it seeks documents that are not

23   relevant nor proportional to the needs of the case.

24          The Commission further objects to Request No. 50, to the extent it seeks documents that are

25   Privileged.

26          Based on the above-stated objections, the Commission is not searching for or producing

27   documents responsive to this request.

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 1   Request for Production No. 51:

 2          All Documents or Communications Concerning any policy, guidance, clearance or other

 3   permission or restriction given to current or former SEC Commissioners, staff members, officers or

 4   employees Concerning ownership or trading in Digital Assets, including but not limited to ADA,

 5   ALGO, ATOM, FIL, FLOW, ICP, MANA, MATIC, NEAR, OMG, and/or SOL by such Person or

 6   their family members, including, but not limited to general SEC policies and Communications with

 7   individuals.

 8   Response to Request for Production No. 51:

 9          The Commission objects to Request No. 51 as unduly burdensome, overbroad, and

10   oppressive.

11          The Commission further objects to Request No. 51 because it seeks documents that are not

12   relevant nor proportional to the needs of the case.

13          The Commission further objects to Request No. 51, to the extent it seeks documents that are

14   Privileged.

15          The Commission further objects to Request No. 51 because the phrase “guidance, clearance,

16   or other permission or restriction” is vague and undefined.

17          The Commission further objects to Request No. 51, to the extent it seeks Commission

18   employees’ confidential personal financial information, where production of such information

19   would result in the unnecessary infringement of their privacy rights and interests.

20          Subject to and without waiving the foregoing objections, the Commission states that 18

21   U.S.C. § 208, which is publicly available, bars an employee from working on a matter that will have

22   a direct and predictable effect on the employee’s financial interests, or those of the employee’s

23   spouse or minor child. Commission employees are also subject to the Supplemental Standards of

24   Ethical Conduct for Members and Employees of the Securities and Exchange Commission, publicly

25   available and codified at 5 C.F.R. Part 4401. To the extent there are other ethics regulations that

26   govern Commission employees’ “purchase, use, ownership, or trading” of crypto assets or “use of

27   Digital Asset Platforms,” they are public and thus available to Defendants.

28          Based on the above-stated objections, the Commission is not searching for or producing

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 1   documents responsive to this request.

 2   Request for Production No. 52:

 3          All Documents or Communications Concerning any ownership or trading in any Digital

 4   Asset by You or any current or former SEC Commissioner, staff member, officer or employee,

 5   including (1) Documents Concerning all Digital Asset wallet addresses over which You or such

 6   Person exercises or has exercised control, or maintains or has maintained the private keys, and (2)

 7   any wallet address used to distribute any Digital Asset, and any wallet address maintained on Your

 8   or such Person’s behalf by any third party or Digital Asset Trading Platform.

 9   Response to Request for Production No. 52:

10          The Commission objects to Request No. 52 as unduly burdensome, overbroad, and

11   oppressive.

12          The Commission further objects to Request No. 51 because it seeks documents that are not

13   relevant nor proportional to the needs of the case.

14          The Commission further objects to Request No. 52, to the extent it seeks documents that are

15   Privileged.

16          The Commission further objects to Request No. 51, to the extent it seeks Commission

17   employees’ confidential personal financial information, where production of such information

18   would result in the unnecessary infringement of their privacy rights and interests.

19          Subject to and without waiving the foregoing objections, the Commission states that 18

20   U.S.C. § 208, which is publicly available, bars an employee from working on a matter that will have

21   a direct and predictable effect on the employee’s financial interests, or those of the employee’s

22   spouse or minor child. Commission employees are also subject to the Supplemental Standards of

23   Ethical Conduct for Members and Employees of the Securities and Exchange Commission, publicly

24   available and codified at 5 C.F.R. Part 4401. To the extent there are other ethics regulations that

25   govern Commission employees’ “purchase, use, ownership, or trading” of crypto assets or “use of

26   Digital Asset Platforms,” they are public and thus available to Defendants.

27          Based on the above-stated objections, the Commission is not searching for or producing

28   documents responsive to this request.

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 1   Request for Production No. 53:

 2           All Documents Concerning analyses (including, but not limited to, any regression and

 3   correlation, or event study analysis) whether done by You, on Your behalf, or for You relating to:

 4                   a.      ADA, ALGO, ATOM, FIL, FLOW, ICP, MANA, MATIC, NEAR, OMG,

 5   and/or SOL;

 6                   b.      The issuers of, and/or Persons or organizations associated with, the Digital

 7   Assets listed in subpart (a).

 8                   c.      Correlations between the market performance of any Digital Assets listed in

 9   subpart (a) and other Digital Assets and/or Virtual Currencies.

10                   d.      Correlations between the market performance of any Digital Assets listed in

11   subpart (a) and public statements or actions taken by any of the Persons, issuers, or organizations

12   encompassed within subpart (b).

13                   e.      The size and value of sales of the Digital Assets listed in subpart (a) over

14   time.

15   Response to Request for Production No. 53:

16           The Commission objects to Request No. 53 as unduly burdensome, overbroad, and

17   oppressive.

18           The Commission also objects to Request No. 53, to the extent it seeks documents that are

19   not relevant nor proportional to the needs of the case.

20           The Commission further objects to Request No. 53, to the extent it seeks documents that are

21   Privileged. The Commission specifically objects to Defendants’ request for “analysis” done by or

22   on behalf of the Commission, which is protected by the work product doctrine and also premature

23   under and/or protected by Federal Rules 26(a)(2), 26(b)(3) and 26(b)(4).

24           Based on the above-stated objections, the Commission is not searching for or producing

25   documents responsive to this request.

26   Request for Production No. 54:

27           All Documents Concerning all sales of ADA, ALGO, ATOM, FIL, FLOW, ICP, MANA,

28   MATIC, NEAR, OMG, and SOL on the Kraken Digital Asset Trading Platform that were

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 1   conducted by the issuers of, and/or Persons or organizations associated with, those Digital Assets.

 2   Response to Request for Production No. 54:

 3          The Commission objects to Request No. 54 as unduly burdensome, overbroad, and

 4   oppressive.

 5          The Commission further objects to Request No. 54 because it seeks documents that are not

 6   relevant nor proportional to the needs of the case.

 7          The Commission further objects to Request No. 54, to the extent it seeks documents that are

 8   Privileged.

 9          Subject to and without waiving the foregoing objections, the Commission states it will

10   conduct a reasonable search for Non-privileged documents that are responsive to this request,

11   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

12   Request for Production No. 55:

13          All Documents Concerning all sales of ADA, ALGO, ATOM, FIL, FLOW, ICP, MANA,

14   MATIC, NEAR, OMG, and SOL on the Kraken Digital Asset Trading Platform that were

15   conducted by third-parties.

16   Response to Request for Production No. 55:

17          The Commission objects to Request No. 55 as unduly burdensome, overbroad, and

18   oppressive.

19          The Commission further objects to Request No. 55 because it is vague and ambiguous.

20          The Commission further objects to Request No. 55 because it seeks documents that are not

21   relevant nor proportional to the needs of the case.

22          The Commission further objects to Request No. 55, to the extent it seeks documents that are

23   Privileged.

24          Subject to and without waiving the foregoing objections, the Commission states it will

25   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

26   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

27   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

28   proportional to the needs of the case.

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 1   Request for Production No. 56:

 2          All Documents and Communications Concerning any purported harm to investors and/or

 3   victims that resulted from Kraken making available on its Digital Asset Trading Platform the

 4   following Digital Assets: ADA, ALGO, ATOM, FIL, FLOW, ICP, MANA, MATIC, NEAR, OMG,

 5   and SOL.

 6   Response to Request for Production No. 56:

 7          The Commission objects to Request No. 56 as unduly burdensome, overbroad, and

 8   oppressive.

 9          The Commission further objects to Request No. 56 because it seeks documents that are not

10   relevant nor proportional to the needs of the case.

11          The Commission further objects to Request No. 56, to the extent it seeks documents that are

12   Privileged.

13          Subject to and without waiving the foregoing objections, the Commission states it will

14   conduct a reasonable search for Non-privileged documents that are responsive to this request,

15   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

16   Request for Production No. 57:

17          All Documents and Communications Concerning any injury or damage that resulted from

18   the SEC’s filing of the Complaint, and/or the other complaints referenced above.

19   Response to Request for Production No. 57:

20          The Commission objects to Request No. 57 as unduly burdensome, overbroad, and

21   oppressive.

22          The Commission objects to the phrase “any injury or damage that resulted from the SEC’s

23   filing of . . . [c]omplaint[s]” as vague and undefined.

24          The Commission further objects to Request No. 57 as calling for the production of

25   documents that are not relevant to any parties’ claims or defenses.

26          The Commission further objects to Request No. 57, to the extent it seeks documents that are

27   Privileged.

28          Based on the above-stated objections, the Commission is not searching for or producing

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 1   documents responsive to this request.

 2   Request for Production No. 58:

 3          All Documents and Communications Concerning any no-action letters, orders, proposed or

 4   final rulemaking, final investigative reports, and enforcement action complaints issued or filed by

 5   the SEC concerning any Digital Asset or Virtual Currency, including, but not limited to, any

 6   requests for no-action letters submitted in connection with any Digital Asset or Virtual Currency,

 7   and if applicable, the basis for declination.

 8   Response to Request for Production No. 58:

 9          The Commission objects to Request No. 58 as unduly burdensome, overbroad, and

10   oppressive.

11          The Commission further objects to Request No. 58 as vague and ambiguous.

12          The Commission further objects to Request No. 58 as calling for the production of

13   documents that are not relevant to any parties’ claims or defenses.

14          The Commission further objects to Request No. 58, to the extent it seeks documents that are

15   Privileged.

16          Based on the above-stated objections, the Commission is not searching for or producing

17   documents responsive to this request.

18   Request for Production No. 59:

19          All Documents and Communications Concerning the utility, or inherent value, of Digital

20   Assets, including bitcoin, ether, ADA, ALGO, ATOM, FIL, FLOW, ICP, MANA, MATIC, NEAR,

21   OMG, and SOL including but not limited to discussions regarding how people use Digital Assets.

22   Response to Request for Production No. 59:

23          The Commission objects to Request No. 59 as unduly burdensome, overbroad, and

24   oppressive.

25          The Commission further objects to the phrase “utility, or inherent value” and “discussions

26   regarding how people use Digital Assets” as vague and undefined.

27          The Commission further objects to Request No. 59 as calling for the production of

28   documents that are not relevant to any parties’ claims or defenses.

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 1           The Commission further objects to Request No. 59, to the extent it seeks documents that are

 2   Privileged.

 3           Based on the above-stated objections, the Commission is not searching for or producing

 4   documents responsive to this request.

 5   Request for Production No. 60:

 6           All Documents and Communications Concerning or supporting Your allegations in

 7   Paragraphs 229, 282, 315, 336, 354, 372, and 426 of the Complaint.

 8   Response to Request for Production No. 60:

 9           The Commission objects to Request No. 60 as unduly burdensome, overbroad, and

10   oppressive. The Commission specifically objects to the request for “All Documents and

11   Communications Concerning” the specified allegations, given the scope of the phrase

12   “Concerning.”

13           The Commission further objects to Request No. 60 because it seeks documents that are not

14   relevant nor proportional to the needs of the case.

15           The Commission further objects to Request No. 60, to the extent it seeks documents that are

16   Privileged.

17           Subject to and without waiving the foregoing objections, the Commission states it will

18   produce the Commission’s Investigative File, which includes non-privileged documents responsive

19   to this request.

20   Request for Production No. 61:

21           All Documents and Communications Concerning or supporting Your allegations in

22   Paragraphs 210-222 of the Complaint.

23   Response to Request for Production No. 61:

24           The Commission objects to Request No. 61 as unduly burdensome, overbroad, and

25   oppressive. The Commission specifically objects to the request for “All Documents and

26   Communications Concerning” the specified allegations, given the scope of the phrase

27   “Concerning.”

28           The Commission further objects to Request No. 61, to the extent it seeks documents that are

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 1   Privileged.

 2           Subject to and without waiving the foregoing objections, the Commission states it will

 3   produce the Commission’s Investigative File, which includes non-privileged documents responsive

 4   to this request.

 5   Request for Production No. 62:

 6           All Documents Concerning or supporting Your contention in ECF No. 60 that “new

 7   investors replace resellers within the common enterprise on the same terms.”

 8   Response to Request for Production No. 62:

 9           The Commission objects to Request No. 62 as unduly burdensome, overbroad, and

10   oppressive. The Commission specifically objects to the request for “All Documents and

11   Communications Concerning” the specified excerpt, given the scope of the phrase “Concerning.”

12           The Commission further objects to Request No. 62 because it selectively excepts argument

13   from a publicly-filed legal memorandum which speaks for itself.

14           The Commission further objects to Request No. 62, to the extent it seeks documents that are

15   Privileged and subject to and Federal Rules 26(a)(2), 26(b)(3) and 26(b)(4).

16           Subject to and without waiving the foregoing objections, the Commission states it will

17   produce the Commission’s Investigative File, which includes non-privileged documents responsive

18   to this request.

19   Request for Production No. 63:

20           All Documents Concerning or supporting Your contention in ECF No. 60 that “the value of

21   a crypto asset vanishes (as does the crypto asset itself) if the networks they are intrinsically tied to

22   disappear.”

23   Response to Request for Production No. 63:

24           The Commission objects to Request No. 63 as unduly burdensome, overbroad, and

25   oppressive. The Commission specifically objects to the request for “All Documents and

26   Communications Concerning” the specified excerpt, given the scope of the phrase “Concerning.”

27           The Commission further objects to Request No. 63 because it selectively excepts argument

28   from a publicly-filed legal memorandum which speaks for itself.

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 1           The Commission further objects to Request No. 63, to the extent it seeks documents that are

 2   Privileged and subject to Federal Rules 26(a)(2), 26(b)(3) and 26(b)(4).

 3           Subject to and without waiving the foregoing objections, the Commission states it will

 4   produce the Commission’s Investigative File, which includes non-privileged documents responsive

 5   to this request.

 6   Request for Production No. 64:

 7           All Documents and Communications Concerning whether Digital Assets can exist without

 8   their native blockchains or networks.

 9   Response to Request for Production No. 64:

10           The Commission objects to Request No. 64 as unduly burdensome, overbroad, and

11   oppressive.

12           The Commission further objects to Request No. 64 as calling for the production of

13   documents that are not relevant to any parties’ claims or defenses.

14           The Commission further objects to Request No. 64, to the extent it seeks documents that are

15   Privileged.

16           Based on the above-stated objections, the Commission is not searching for or producing

17   documents responsive to this request.

18   Request for Production No. 65:

19           All Documents and Communications Concerning any decision by You to suspend or

20   discontinue an investigation into:

21                      a.   ADA, the Cardano Foundation, IOHK, or Emurgo;

22                      b.   ALGO or the Algorand Foundation Ltd.;

23                      c.   ATOM, the Cosmos Hub, the Interchain Foundation, Interchain GmbH, LLC,

24                           All in Bits, Inc., or NewTendermint, Inc.;

25                      d.   FIL or Protocol Labs;

26                      e.   FLOW or Dapper Labs;

27                      f.   ICP, DNF, or DFINITY Foundation;

28                      g.   MANA, Decentraland, or Metaverse Holdings;

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 1                  h.      MATIC, Polygon, or Polygon Labs;

 2                  i.      NEAR, Near, Inc., or the NEAR Foundation;

 3                  j.      OMG, OmiseGO, Genesis Block Ventures, the Boba Network, or the BOBA

 4                          Foundation;

 5                  k.      SOL or Solana Labs, Inc.; or

 6                  l.      Any other Digital Asset.

 7   Response to Request for Production No. 65:

 8          The Commission objects to Request No. 65 as unduly burdensome, overbroad, and

 9   oppressive.

10          The Commission further objects to Request No. 65 because it seeks documents that are not

11   relevant nor proportional to the needs of the case.

12          The Commission further objects to Request No. 65, to the extent it seeks documents that are

13   Privileged.

14          Based on the above-stated objections, the Commission is not searching for or producing

15   documents responsive to this request.

16   Request for Production No. 66:

17          All Documents and Communications Concerning every transaction conducted on the Kraken

18   Digital Asset Trading Platform that You believe constituted an unlawful offer or sale of a security.

19   Response to Request for Production No. 66:

20          The Commission objects to Request No. 66 as unduly burdensome, overbroad, and

21   oppressive.

22          The Commission further objects to Request No. 66 because it is vague and ambiguous.

23          The Commission further objects to Request No. 66 because it seeks documents that are not

24   relevant nor proportional to the needs of the case.

25          The Commission further objects to Request No. 66, to the extent it seeks documents that are

26   Privileged.

27          Subject to and without waiving the foregoing objections, the Commission states it will

28   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

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 1   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

 2   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

 3   proportional to the needs of the case.

 4   Request for Production No. 67:

 5           All Documents and Communications Concerning or supporting Your allegation in

 6   Paragraph 117 of the Complaint that “[m]ultiple issuers sold their respective crypto assets on the

 7   Kraken Trading Platform through market makers.”

 8   Response to Request for Production No. 67:

 9           The Commission objects to Request No. 67 as unduly burdensome, overbroad, and

10   oppressive. The Commission specifically objects to the request for “All Documents and

11   Communications Concerning” the specified allegations, given the scope of the phrase

12   “Concerning.”

13           The Commission further objects to Request No. 67 to the extent that certain responsive

14   documents are in the possession, custody, or control of, or equally available, to Defendants.

15           The Commission further objects to Request No. 67, to the extent it seeks documents that are

16   Privileged.

17           Subject to and without waiving the foregoing objections, the Commission states it will

18   produce the Commission’s Investigative File, which includes non-privileged documents responsive

19   to this request.

20   Request for Production No. 68:

21           All Documents and Communications Concerning or supporting Your allegations in

22   Paragraphs 120-123 of the Complaint regarding communication between a Kraken representative

23   and a market maker.

24   Response to Request for Production No. 68:

25           The Commission objects to Request No. 68 as unduly burdensome, overbroad, and

26   oppressive. The Commission specifically objects to the request for “All Documents and

27   Communications Concerning” the specified allegations, given the scope of the phrase

28   “Concerning.”

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 1           The Commission further objects to Request No. 68 to the extent that certain responsive

 2   documents are in the possession, custody, or control of, or equally available, to Defendants.

 3           The Commission further objects to Request No. 68, to the extent it seeks documents that are

 4   Privileged.

 5           Subject to and without waiving the foregoing objections, the Commission states it will

 6   produce the Commission’s Investigative File, which includes non-privileged documents responsive

 7   to this request.

 8   Request for Production No. 69:

 9           All Documents and Communications Concerning or supporting Your allegation in

10   Paragraph 124 of the Complaint that a market maker “offered and sold ADA, FIL, FLOW, ICP,

11   MATIC and NEAR via the Kraken Trading Platform on behalf of their respective issuers.”

12   Response to Request for Production No. 69:

13           The Commission objects to Request No. 69 as unduly burdensome, overbroad, and

14   oppressive. The Commission specifically objects to the request for “All Documents and

15   Communications Concerning” the specified allegations, given the scope of the phrase

16   “Concerning.”

17           The Commission further objects to Request No. 69 to the extent that certain responsive

18   documents are in the possession, custody, or control of, or equally available, to Defendants.

19           The Commission further objects to Request No. 69, to the extent it seeks documents that are

20   Privileged.

21           Subject to and without waiving the foregoing objections, the Commission states it will

22   produce the Commission’s Investigative File, which includes non-privileged documents responsive

23   to this request.

24   Request for Production No. 70:

25           All Documents and Communications Concerning or supporting Your allegation in

26   Paragraph 125 of the Complaint that “[o]ther market makers offered and sold crypto assets via the

27   Kraken Trading Platform on behalf of their issuers.”

28
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 1   Response to Request for Production No. 70:

 2           The Commission objects to Request No. 70 as unduly burdensome, overbroad, and

 3   oppressive. The Commission specifically objects to the request for “All Documents and

 4   Communications Concerning” the specified allegations, given the scope of the phrase

 5   “Concerning.”

 6           The Commission further objects to Request No. 70 to the extent that certain responsive

 7   documents are in the possession, custody, or control of, or equally available, to Defendants.

 8           The Commission further objects to Request No. 70, to the extent it seeks documents that are

 9   Privileged.

10           Subject to and without waiving the foregoing objections, the Commission states it will

11   produce the Commission’s Investigative File, which includes non-privileged documents responsive

12   to this request.

13   Request for Production No. 71:

14           All Documents and Communications Concerning or supporting Your allegation in

15   Paragraph 126 of the Complaint that the issuers of ADA, ALGO, FIL, FLOW, ICP, MATIC and

16   NEAR all sold their respective Digital Assets through market makers on the Kraken Digital Asset

17   Trading Platform.

18   Response to Request for Production No. 71:

19           The Commission objects to Request No. 71 as unduly burdensome, overbroad, and

20   oppressive. The Commission specifically objects to the request for “All Documents and

21   Communications Concerning” the specified allegations, given the scope of the phrase

22   “Concerning.”

23           The Commission further objects to Request No. 71 to the extent that certain responsive

24   documents are in the possession, custody, or control of, or equally available, to Defendants.

25           The Commission further objects to Request No. 71 the extent it seeks documents that are

26   Privileged.

27           Subject to and without waiving the foregoing objections, the Commission states it will

28   produce the Commission’s Investigative File, which includes non-privileged documents responsive

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 1   to this request.

 2   Request for Production No. 72:

 3           All Documents and Communications Concerning or supporting Your contention in ECF No.

 4   60 that “the issuer of FLOW offered and sold FLOW from its own holdings on the Kraken Trading

 5   Platform using market maker agents.”

 6   Response to Request for Production No. 72:

 7           The Commission objects to Request No. 72 as unduly burdensome, overbroad, and

 8   oppressive. The Commission specifically objects to the request for “All Documents and

 9   Communications Concerning” the specified allegations, given the scope of the phrase

10   “Concerning.”

11           The Commission further objects to Request No. 72 because it selectively excepts argument

12   from a publicly-filed legal memorandum which speaks for itself.

13           The Commission further objects to Request No. 72 to the extent that certain responsive

14   documents are in the possession, custody, or control of, or equally available, to Defendants.

15           The Commission further objects to Request No. 72, to the extent it seeks documents that are

16   Privileged.

17           Subject to and without waiving the foregoing objections, the Commission states it will

18   produce the Commission’s Investigative File, which includes non-privileged documents responsive

19   to this request.

20   Request for Production No. 73:

21           All Communications with, and Documents Concerning Communications with, any market

22   makers cited or relied upon, or encompassed within, Your allegations in Paragraphs 117-128 of the

23   Complaint.

24   Response to Request for Production No. 73:

25           The Commission objects to Request No. 73 as unduly burdensome, overbroad, and

26   oppressive. The Commission specifically objects to the request for “Communications with, and

27   Documents Concerning Communications with, any market makers cited or relied upon” without any

28   topical or temporal limit.

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 1          The Commission further objects to Request No. 73 as calling for the production of

 2   documents that are not relevant to any parties’ claims or defenses.

 3          The Commission further objects to Request No. 73 the extent it seeks documents that are

 4   Privileged.

 5          Subject to and without waiving the foregoing objections, the Commission states it will

 6   conduct a reasonable search for Non-privileged documents that are responsive to this request,

 7   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

 8   Request for Production No. 74:

 9          All Documents Concerning the size, growth, value, and/or importance of the Digital Asset

10   industry or Digital Asset Trading Platforms.

11   Response to Request for Production No. 74:

12          The Commission objects to Request No. 74 as unduly burdensome, overbroad, and

13   oppressive.

14          The Commission further objects to Request No. 74 because the phrase “the size, value,

15   growth, or importance of the Digital Asset industry or Digital Asset Platforms” is vague and

16   undefined.

17          The Commission further objects to Request No. 74, to the extent it seeks documents that are

18   not relevant nor proportional to the needs of the case. The Commission specifically objects to the

19   extent this request seeks documents concerning Defendants’ “major questions doctrine” defense

20   (see Defendants’ Answer, ECF No. 91, at 70-71), which the Court has already rejected and thus is

21   not relevant. See Order Denying Motion to Dismiss and Setting Case Management Conference,

22   ECF No. 90 at 28 (“Other courts have already considered whether similar claims brought by the

23   SEC violate the major questions doctrine and found that they do not. The same is true here.”).

24          The Commission further objects to Request No. 74, to the extent it seeks documents that are

25   Privileged.

26          Based on the above-stated objections, the Commission is not searching for or producing

27   documents responsive to this request.

28
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 1   Request for Production No. 75:

 2          All Documents and Communications Concerning the international or global characteristics

 3   of transactions involving Virtual Currencies and/or Digital Assets, as well as the SEC’s jurisdiction

 4   over and/or authority to regulate such transactions.

 5   Response to Request for Production No. 75:

 6          The Commission objects to Request No. 75 as unduly burdensome, overbroad, and

 7   oppressive.

 8          The Commission further objects to the phrases “international or global characteristics of

 9   transactions” and “the SEC’s jurisdiction over and/or authority to regulate such transactions,” which

10   are vague and undefined.

11          The Commission further objects to Request No. 75 because it seeks documents that are not

12   relevant nor proportional to the needs of the case.

13          The Commission further objects to Request No. 75, to the extent it seeks documents that are

14   Privileged.

15          Based on the above-stated objections, the Commission is not searching for or producing

16   documents responsive to this request.

17   Request for Production No. 76:

18          All Documents and Communications Concerning Your December 15, 2023 denial of

19   Coinbase Global, Inc.’s petition for rulemaking, filed on July 21, 2022.

20   Response to Request for Production No. 76:

21          The Commission objects to Request No. 76 as unduly burdensome, overbroad, and

22   oppressive. The Commission specifically objects to the extent certain responsive documents were

23   publicly filed on the Commission’s website, and also publicly filed in Coinbase Global, Inc.’s

24   action petitioning for a writ of mandamus to the Commission, see In re Coinbase, Inc., Case 23-

25   1779 (3d. Cir.), and thus are equally available to Defendants.

26          The Commission further objects to Request No. 76 because it seeks only documents that are

27   not relevant nor proportional to the needs of the case.

28          The Commission further objects to Request No. 76, to the extent it seeks documents that are

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 1   Privileged.

 2           Based on the above-stated objections, the Commission is not searching for or producing

 3   documents responsive to this request.

 4   Request for Production No. 77:

 5           All Documents and Communications Concerning the May 6, 2021 testimony by SEC Chair

 6   Gary Gensler before the United States House of Representatives Committee on Financial Services

 7   regarding Digital Assets and Digital Asset Trading Platforms, including but not limited to: all

 8   Documents, including internal Communications, analyses, drafts, and other materials, that were

 9   prepared or relied upon by Chair Gensler, or any other current or former SEC Division Director,

10   Staff, or Commissioner in reaching the determination that “right now the exchanges trading in these

11   crypto assets do not have a regulatory framework [] at the SEC.”

12   Response to Request for Production No. 77:

13           The Commission objects to Request No. 77 as unduly burdensome, overbroad, and

14   oppressive.

15           The Commission further objects to Request No. 77 to the extent that it selectively excerpts

16   the text that is the subject of the request, which speaks for itself, and to the extent that it

17   mischaracterizes said text (e.g., “reaching the determination”).

18           The Commission further objects to Request No. 77 because it seeks documents that are not

19   relevant nor proportional to the needs of the case.

20           The Commission further objects to Request No. 77, to the extent it seeks documents that are

21   Privileged.

22           Based on the above-stated objections, the Commission is not searching for or producing

23   documents responsive to this request.

24   Request for Production No. 78:

25           All Documents and Communications Concerning the August 5, 2021 letter from SEC Chair

26   Gary Gensler to Senator Elizabeth Warren,

27   https://www.warren.senate.gov/imo/media/doc/gensler_response_to_warren_-

28   _cryptocurrency_exchanges.pdf, including but not limited to: all Documents, including internal

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 1   Communications, analyses, drafts, and other materials, that were prepared or relied upon by Chair

 2   Gensler, or any other current or former SEC Division Director, Staff, or Commissioner in reaching

 3   the determination that the SEC “need[s] additional authorities to prevent transactions, products, and

 4   platforms from falling between regulatory cracks.”

 5   Response to Request for Production No. 78:

 6           The Commission objects to Request No. 78 as unduly burdensome, overbroad, and

 7   oppressive.

 8           The Commission further objects to Request No. 78 to the extent that it selectively excerpts

 9   the text that is the subject of the request, which speaks for itself, and to the extent that it

10   mischaracterizes said text (e.g., “reaching the determination”).

11           The Commission further objects to Request No. 78 because it seeks documents that are not

12   relevant nor proportional to the needs of the case.

13           The Commission further objects to Request No. 78, to the extent it seeks documents that are

14   Privileged.

15           Based on the above-stated objections, the Commission is not searching for or producing

16   documents responsive to this request.

17   Request for Production No. 79:

18           All Documents and Communications Concerning any speeches made at any time by any

19   SEC Commissioner, senior officers, and staff members Concerning Digital Assets, and any analyses

20   or other materials that were prepared or relied upon in reaching the conclusions and observations

21   reflected in such speeches.

22   Response to Request for Production No. 79:

23           The Commission objects to Request No. 79 as unduly burdensome, overbroad, and

24   oppressive.

25           The Commission further objects to Request No. 79 because it seeks documents that are not

26   relevant nor proportional to the needs of the case.

27           The Commission further objects to Request No. 79, to the extent it seeks documents that are

28   Privileged.

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 1          Based on the above-stated objections, the Commission is not searching for or producing

 2   documents responsive to this request.

 3   Request for Production No. 80:

 4          All Documents and Communications Concerning the December 7, 2022 statements by SEC

 5   Chair Gary Gensler regarding Digital Assets and Digital Asset Trading Platforms in his interview

 6   with Yahoo! Finance, as reflected in https://finance.yahoo.com/video/sec-gensler-runway-

 7   gettingshorter-161605453.html.

 8   Response to Request for Production No. 80:

 9          The Commission objects to Request No. 80 as unduly burdensome, overbroad, and

10   oppressive.

11          The Commission further objects to Request No. 80 because it seeks documents that are not

12   relevant nor proportional to the needs of the case.

13          The Commission further objects to Request No. 80, to the extent it seeks documents that are

14   Privileged.

15          Based on the above-stated objections, the Commission is not searching for or producing

16   documents responsive to this request.

17   Request for Production No. 81:

18          All Documents and Communications Concerning statements by SEC Chair Gary Gensler

19   regarding the proposed Financial Innovation and Technology for the 21st Century Act (H.R. 4763,

20   118th Cong.), including but not limited to his May 22, 2024 statement reflected in the following

21   link: https://www.sec.gov/newsroom/speeches-statements/gensler-21st-century-act-05222024.

22   Response to Request for Production No. 81:

23          The Commission objects to Request No. 81 as unduly burdensome, overbroad, and

24   oppressive.

25          The Commission further objects to Request No. 81 because it seeks documents that are not

26   relevant nor proportional to the needs of the case.

27          The Commission further objects to Request No. 81, to the extent it seeks documents that are

28   Privileged.

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 1          Based on the above-stated objections, the Commission is not searching for or producing

 2   documents responsive to this request.

 3   Request for Production No. 82:

 4          All Documents and Communications Concerning meetings between any SEC Commissioner

 5   and any founders, CEOs, Board members, officers, or employees of any Digital Asset company,

 6   nonprofit, or foundation.

 7   Response to Request for Production No. 82:

 8          The Commission objects to Request No. 82 as unduly burdensome, overbroad, and

 9   oppressive.

10          The Commission further objects to Request No. 82 because it seeks documents that are not

11   relevant nor proportional to the needs of the case.

12          The Commission further objects to Request No. 82, to the extent it seeks documents that are

13   Privileged.

14          Based on the above-stated objections, the Commission is not searching for or producing

15   documents responsive to this request.

16   Request for Production No. 83:

17          All Documents and Communications Concerning meetings between any SEC

18   Commissioner, senior officers, and staff members and FTX or any of its founders, CEOs, Board

19   members, officers, or employees, Concerning Digital Assets and/or Digital Asset Trading

20   Platforms.

21   Response to Request for Production No. 83:

22          The Commission objects to Request No. 83 as unduly burdensome, overbroad, and

23   oppressive.

24          The Commission further objects to Request No. 83 because it seeks documents that are not

25   relevant nor proportional to the needs of the case.

26          The Commission further objects to Request No. 83, to the extent it seeks documents that are

27   Privileged.

28          Based on the above-stated objections, the Commission is not searching for or producing

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 1   documents responsive to this request.

 2   Request for Production No. 84:

 3          All Documents and Communications Concerning FTX produced by You to any

 4   Congressional committee in response any formal or informal requests.

 5   Response to Request for Production No. 84:

 6          The Commission objects to Request No. 84 as unduly burdensome, overbroad, and

 7   oppressive.

 8          The Commission further objects to Request No. 84 because it seeks documents that are not

 9   relevant nor proportional to the needs of the case.

10          The Commission further objects to Request No. 84, to the extent it seeks documents that are

11   Privileged.

12          Based on the above-stated objections, the Commission is not searching for or producing

13   documents responsive to this request.

14   Request for Production No. 85:

15          All Documents and Communications Concerning Kraken’s May 10, 2023 testimony before

16   the Subcommittee on Digital Assets, Financial Technology, and Inclusion of the United States

17   House of Representatives Committee on Financial Services, and the Subcommittee on Commodity

18   Markets, Digital Assets, and Rural Development of the United States House of Representatives

19   Committee on Agriculture.

20   Response to Request for Production No. 85:

21          The Commission objects to Request No. 85 as unduly burdensome, overbroad, and

22   oppressive.

23          The Commission further objects to Request No. 85 because it seeks documents that are not

24   relevant nor proportional to the needs of the case.

25          The Commission further objects to Request No. 85, to the extent it seeks documents that are

26   Privileged.

27          Based on the above-stated objections, the Commission is not searching for or producing

28   documents responsive to this request.

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 1   Request for Production No. 86:

 2          All Documents Concerning Communications with Congressional committees or members or

 3   their staff, or employees of the Executive Branch Concerning Digital Assets and Digital Asset

 4   regulation.

 5   Response to Request for Production No. 86:

 6          The Commission objects to Request No. 86 as unduly burdensome, overbroad, and

 7   oppressive.

 8          The Commission further objects to Request No. 86 because it seeks documents that are not

 9   relevant nor proportional to the needs of the case.

10          The Commission further objects to Request No. 86, to the extent it seeks documents that are

11   Privileged.

12          Based on the above-stated objections, the Commission is not searching for or producing

13   documents responsive to this request.

14   Request for Production No. 87:

15          A copy of any notice sent from the SEC’s Director of Enforcement, or the Director’s

16   designee, to the Chairman of the SEC, pursuant to 15 U.S.C. § 78d-5(a)(2).

17   Response to Request for Production No. 87:

18          The Commission objects to Request No. 87 as unduly burdensome, overbroad, and

19   oppressive.

20          The Commission further objects to Request No. 87 because it seeks documents that are not

21   relevant nor proportional to the needs of the case.

22          The Commission further objects to Request No. 87, to the extent it seeks documents that are

23   Privileged.

24          Based on the above-stated objections, the Commission is not searching for or producing

25   documents responsive to this request.

26   Request for Production No. 88:

27          All Documents and Communications which might reasonably be considered exculpatory to

28   Kraken with respect to the allegations in the Complaint.

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 1   Response to Request for Production No. 88:

 2           The Commission objects to Request No. 88 as unduly burdensome, overbroad, and

 3   oppressive.

 4           The Commission further objects to Request No. 88 because it is vague and ambiguous as to

 5   the phrase “might reasonably be considered exculpatory.”

 6           The Commission further objects to Request No. 88, to the extent it seeks documents that are

 7   Privileged.

 8           Subject to and without waiving the foregoing objections, the Commission states it will

 9   conduct a reasonable search for Non-privileged documents that are responsive to this request,

10   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

11   Request for Production No. 89:

12           All Documents that You contend support the allegations and claims made in the Complaint

13   filed in this Action.

14   Response to Request for Production No. 89:

15           The Commission objects to Request No. 89 as unduly burdensome, overbroad, and

16   oppressive.

17           The Commission further objects to Request No. 89 because the phrase “You contend

18   support” is vague and undefined.

19           The Commission further objects to Request No. 89 to the extent that it seeks to impose on

20   the Commission a greater burden than that permitted by the Federal Rules.

21           The Commission further objects to Request No. 89 because it seeks documents that are not

22   relevant nor proportional to the needs of the case.

23           The Commission further objects to Request No. 89, to the extent it seeks documents that are

24   Privileged.

25           Subject to and without waiving the foregoing objections, the Commission states it will

26   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

27   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

28   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

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 1   proportional to the needs of the case.

 2   Request for Production No. 90:

 3           All Documents that tend to contradict, disprove, refute, or undercut Your allegations and

 4   claims made in the Complaint filed in this Action.

 5   Response to Request for Production No. 90:

 6           The Commission objects to Request No. 90 as unduly burdensome, overbroad, and

 7   oppressive.

 8           The Commission further objects to Request No. 90 to the extent that it seeks to impose on

 9   the Commission a greater burden than that permitted by the Federal Rules.

10           The Commission further objects to Request No. 90, to the extent it seeks documents that are

11   Privileged.

12           Subject to and without waiving the foregoing objections, the Commission states it will

13   conduct a reasonable search for Non-privileged documents that are responsive to this request,

14   relevant to the claims or defenses in this Action, and proportional to the needs of the case.

15   Request for Production No. 91:

16           All Documents that You intend to rely upon for any purpose, or introduce as evidence, at

17   trial or at any hearing in this Action.

18   Response to Request for Production No. 91:

19           The Commission further objects to Request No. 91 to the extent that it seeks to impose on

20   the Commission a greater burden than that permitted by the Federal Rules. The Commission

21   specifically objects to Request No. 91 as premature.

22           Subject to and without waiving the foregoing objections, the Commission states it will

23   produce the Commission’s Investigative File, which includes Non-privileged documents responsive

24   to this request, and the Commission will conduct a reasonable search for additional Non-privileged

25   documents that are responsive to this request, relevant to the claims or defenses in this Action, and

26   proportional to the needs of the case. Furthermore the Commission will produce documents

27   responsive to this request at the appropriate time in accordance with the Federal Rules, Local Rules,

28   ///

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 1   Court’s Individual Rules, or other applicable authorities.

 2
 3   Dated: September 30, 2024                               Respectfully submitted,
 4
                                                           /s/ Peter Bryan Moores
 5                                                         Daniel O. Blau
                                                           Alec Johnson
 6                                                         Peter Bryan Moores
                                                           Elizabeth Goody
 7
                                                           Counsel for Plaintiff
 8                                                         Securities and Exchange Commission

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     SEC’S RESPONSES AND OBJECTIONS TO
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 1                                         PROOF OF SERVICE

 2   I am over the age of 18 years and not a party to this action. My business address is:

 3          U.S. SECURITIES AND EXCHANGE COMMISSION,
            33 Arch Street, 24th Floor, Boston, MA 02110
 4          Telephone No. 617-573-8900.

 5   On September 30, 2024, I caused to be served the document entitled PLAINTIFF SECURITIES
     AND EXCHANGE COMMISSION’S OBJECTIONS AND RESPONSES TO DEFENDANTS
 6   PAYWARD, INC.’S AND PAYWARD VENTURES, INC.’S FIRST SET OF REQUESTS
     FOR PRODUCTION OF DOCUMENTS on all the parties to this action addressed as stated on
 7   the attached service list:

 8   ☐       OFFICE MAIL: By placing in sealed envelope(s), which I placed for collection and
     mailing today following ordinary business practices. I am readily familiar with this agency’s
 9   practice for collection and processing of correspondence for mailing; such correspondence would be
     deposited with the U.S. Postal Service on the same day in the ordinary course of business.
10
             ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s), which I
11   personally deposited with the U.S. Postal Service. Each such envelope was deposited with the U.S.
     Postal Service at Los Angeles, California, with first class postage thereon fully prepaid.
12
            ☐       EXPRESS U.S. MAIL: Each such envelope was deposited in a facility regularly
13   maintained at the U.S. Postal Service for receipt of Express Mail at Los Angeles, California, with
     Express Mail postage paid.
14
     ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the office of the
15   addressee as stated on the attached service list.

16   ☐       UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated by United
     Parcel Service (“UPS”) with delivery fees paid or provided for, which I deposited in a facility
17   regularly maintained by UPS or delivered to a UPS courier, at Los Angeles, California.

18   ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to the electronic
     mail address as stated on the attached service list.
19
     ☐      E-FILING: By causing the document to be electronically filed via the Court’s CM/ECF
20   system, which effects electronic service on counsel who are registered with the CM/ECF system.

21   ☐      FAX: By transmitting the document by facsimile transmission. The transmission was
     reported as complete and without error.
22
            I declare under penalty of perjury that the foregoing is true and correct.
23
24
      Date: September 30, 2024                          /s/ Peter Bryan Moores
25                                                      Peter Bryan Moores

26
27
28
     SEC’S RESPONSES AND OBJECTIONS TO
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 1                         SEC v. Payward, Inc.; Payward Ventures, Inc.
                   United States District Court—Northern District of California
 2                                Case No. 3:23-cv-06003-WHO

 3                                       SERVICE LIST

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